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                                                                                                HERMANN HOSPITAL
.Authorizatio      is    hereby given to dispense the   Generic   or   Chemical   equivalent    physicians    Orders
          otherwise     indicated  by the words -MEDICAL NECESSITY
   ýss


ALLERGIES                Q NKA Q YES                                                                 96 92549 0 9367
                                                                                                  WILFORD  KANE
               DRUG                                                                               BM Age 24y DOB             05/04/74
                                                                                                  Visit/Admit           Dt   12/07/98
               OTHER

WT                           kg.          HT                          cm.

         ORDERED
 DATE           TIME
                              ORDERS                                                       Use Ball Point          -   Press Firmly

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                              PLEASE         INCLUDE YOUR BEEPER OR PHONE NUMBER WITH YOUR SIGNATURE
         695
431641
                                                                                  MEDICAL RECORDS
                         Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 2 of 150


                                                                                                     HERMANN HOSPITAL
Authorization            hereby                                             Chemical                              Orders
                    is
                                  given   to dispense the    Generic   or              equivalent    Physicians
     ss otherwise        indicated   by the   words   -   MEDICAL NECESSITY

                                                                                                                             0 9367
ALLERGIES QNKA Q YES                                                                                    96 92549
                                                                                                        WALTER  KEVDOB          05/04/74
            DRUG                                                                                        BM Age 24Y              12/07/98
                                                                                                                     Dt
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WT                            kg.             HT                            cm.

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                                PLEASE INCLUDE YOUR BEEPER OR PHONE NUMBER WITH YOUR SIGNATURE
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                        Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 3 of 150


                                                                                                        HERMANN HOSPITAL
   A.ithorization is     hereby given    to dispense       the   Generic   or   Chemical   equivalent
                                                                                                        Physicians   Orders                   r




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         ss otherwise   indicated   by   the   words   -   MEDICAL NECESSITY
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 ALLERGIES
                                                                                                           96 92549 0 9367
                         13   NKA    DYES

                                                                                                           WILFORD  KANE
                DRUG
                                                                                                              Age 24y DOB          05/04/74
                OTHER                                                                                      Visit/Admit Dt          12/07/98

 WT                           kg.              HT                               cm.

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431641   6195
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                           Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 4 of 150


                                                                                                             HERMANN HOSPITAL
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 uthorization        is   hereby     given   to dispense

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ALLERGIES                      Q NKA      OYES
                                                                                                                 WALTER   KEVIN
                                                                                                                 BM Age
                                                                                                                         24y DOB      05/04/74
            DRUG                                                                                                 Visit/Admit Dt
                                                                                                                                      12/07/98
            OTHER

WT                                 kg.           HT                           cm.


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                                     PLEASE INCLUDE YOUR BEEPER OR PHONE
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 431641   6/95                                                                             MEDICAL RECORDS
                         Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 5 of 150



                                                                                                                                          HERMANN HOSPITAL

                                                                                                                                          Physicians              Orders


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                                                                                                                                                                                                                                  o
                                                                   Generic or Chemical



                                                                                                                               W
    Authorization                         to   dispense   the
                    is   hereby   given                                                           equivalent

    unless otherwise      indicated   by the words-MEDICAL                  NECESSITY
                                                                                                                                        tt


    ALLERGIES              Q YES Q NO

    DESCRIBE



         ORDERED
      DATE       TIME
                                  ORDERS                                                                       Use Ball Point-Press Firmly

                                                                                                                         Electrolyte           Replacement



                                                                                                                                                                                                               30 m1/min.
                       UO                        Disregard         all   protocols       if   patient    has   renal failure              is   on dialysis or has a creatinine                  clearance


                                                 Please    fill    in the electrolyte           level    and check             the     appropriate       box.

                                                 Patients         LBW                            kg

                                                 Magnesium                       Serum magnesium level                                                mEq/L
                                                 Magnesium              level 1.0-1.7         mEq/L
                                                 Q Magnesium                Sulfate       0.5   mEq/kg         LBW             in    NS 250 ml infused IV over 24 hrs x 3 days.
                                                     Recheck             magnesium level              in 3 days.


                                                 Magnesium              level      1.0   mEq/L
                                                 Q Magnesium                Sulfate        1mEq/kg        LBW             in   NS 250 ml infused IV over 24 his x 1 day then 0.5 mEq/kg
                                                        LBW          in    NS 250 ml infused IV over 24 his x 2 days.
                                                        Recheck          magnesium level in 3 days.
                                                                         gastric access and needs a bowel regimen
                                                 If patient       has


                                                 Q Milk           of Magnesia            MOM 15 ml q 24 per                          gastric tube        NGOG PEG. Hold                    for diarrhea.




                                                 Phosphate                      Serum phosphate               level                              mg/dl

                                                 Phosphate         level    1.0-2.5       mg/dl
                                                 Q   Tolerating            enteral nutrition            Neutra-Phos                 2 packets     q 6 h per gastric tube or feeding tube.

                                                 Q No        enteral       nutrition          KPHO4 or NaPH04 0.15 mMo1/kg                                LBW over 6 his x             1       dose.

                                                          Recheck          phosphate          level    in 3    days.

                                                  Phosphate         level         1.0    mg/dl
                                                 Q   Tolerating            enteral nutrition            KPHO4 or NaPHO4                        0.25     mMol/kg       LBW
                                                                                                                                                                        over 6 hrs x  dose.            I




                                                     Recheck             phosphate       level    4 hours after end of infusion.                         If 2.5 mg/dl begin Neutra-Phos  2 packets                               q6h.

                                                 Q Not        tolerating         enteral      nutrition        KPHO4 OR NaPHO4 0.25 mMol/kg                                LBW over 6                  his x   I   dose.

                                                        Recheck          phosphate        level   4 hours after end of infusion.                          If    2.5   mg/dl    then   KPHO4 or NaPHO4                       0.15

                                                        mMol/kg           LBW IV over 6                 his x      I    dose.




                                                 Calcium                   Serum normalized ionized calcium level                                       3              mg/dl
                                                 Normalized          calcium       level       4.0 mg/dl
                                                 Q With           gastric       access    NG OG PEG and                             tolerating    enteral      nutrition

                                                        Calcium          carbonate       susp     1250 mg/5              ml q6h per NG                  OG or PEG
                                                 __/Recheck              ionized    calcium        level      in 3      days.

                                                     Without             gastric assess         or not   tolerating           enteral        nutrition

                                                        Calcium          gluconate        2 gin IV over            1   hr x     I    dose.

                                                        Recheck          ionized    calcium        level      in   3 days.



                                                 Potassium                      Serum potassium level                                            mEq/L
                                                 Serum potassium level 4.0 mEq/L
                                                 Q   Asymptomatic.                 tolerating      enteral         nutrition           KCI     40 mEq per enteral          access     x    1    dose.


                                                 xQ Asymptomatic not tolerating enteral nutrition KCI 20mEq IV q 2h x 2 doses.
                                                 Q  Symptomatic KCI 20 mEq IV qlh x 4 doses.
                                                 Recheck          potassium level 2 hours                after         end of infusion.            If   3.5mEq/L and asymptomatic                          replace    as   per
                                                 above    protocol.




                                                 Date                       Time                       Physician Signature                                Physician     NamePrint                       Beeper       Number

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                                          PLEASE INCLUDE YOUR BEEPER OR PHONE NUMBER WITH YOUR SIGNATURE
                              Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 6 of 150


                                                                                                               HERMANN HOSPITAL
                                                                                                               Physicianss Orders
 Authorization           is   hereby   given   to dispense      the Generic   or   Chemical   equivalent
                                                                MEDICAL NECESSITY
    ss      otherwise         indicated    by the   words   -




                               Q NKA Q YES                                                                      96 92549 0 9367
                                                                                                               WALTER  KEVIN
                  DRUG                                                                                         BM Age 24y DOB           05/04/74
                                                                                                               Visit/Admit Dt           12/07/98
                  OTHER

WT                                 kg.              HT                             cm.

         ORDERED
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                                    ORDERS                                                             Use Ball Point            -   Press Firmly

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                         Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 7 of 150


                                                                                                    HERMANN HOSPITAL
   orization      is   hereby   given   to dispense     the Generic   or Chemical

                                                        MEDICAL NECESSITY
                                                                                    equivalent      Physicians   Orders

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      i   otherwise    indicated   by the   words   -




ALLERGIES               Q NKA Q YES
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             DRUG                                                                                                dmit

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WT                          kg.
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                              ORDERS                                                             Use Ball Point      -

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                                PLEASE INCLUDE YOUR BEEPER OR PHONE                                                 NUMBER WITH YOUR SIGNATURE
 431641   6/95                                                                        MEDICAL      RECORDS
                               Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 8 of 150


                                       Hermann Hospital
                      TRAUMA/ STICU PROBLEM LIST                                                                            96 92549 0 9367
                                                                                                                            WILFORD  KANE
                                                                                                                            BM Age 24y DOB               05/04/74
Attending                                                                                                                   Visit/Admit Dt               12/07/98

Admit Date                      STICU           ýZ          1
                                                                            Hospital



D/C Date                        STICU                                       Hospital



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                            Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 9 of 150

                                                                                                                                                HERMANN HOSPITAL
Consultants                Report

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                                                                                                                                                Cons Rep



                                                                                                                                                     96 92549 0 9367
                                                                                                  Q                                              WILFORD  KME
TO                                                                                                         -



               Consulting    Physician                                                            Consulting            Service                  BM Age 24y DOB                                          05/04/74
FROM                                                                                                                                             Visit/Admit Dt                                          12/07/98
               Attending    Physician                                                             Attending             Service



RE
               Reason for   Consultation         Request




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DISTRIBUTIONWHITE                   -   Medical Records                                                                                                                                              Consultants    Signature
CANARY Attending Physician
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PINK     -   Consulting Physician                                                                                                                                                                                                                  ýr.C



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                Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 10 of 150
                     .radiolog
                               Consultatid.Notes        96 9254O 0 9367
                                                                                                               WILFORD  KANE
Date    t
                 t


                                          1Inpatient                                   Outpatient              BM Age 24y DOB                                    05/14/74
Type of Imaging Procedure                                                                                      Visit/Admit Dt                                    12/07/98

                                                                                                       Physical                Exam                               Pre-

                                                                                                           Post-TIME/SIGNATURE
Diagnostic/Clinical                 Information


                                                                                                                       ý--ý_
                                                                                                           NEUROLOGICAL
PATIENT              ASSESSMENT
Time of arrival                                        NPO     Since              s   r ýh
                                                                                                           a       Able   to   move 4     extremities
                                                                                                                                                             i/
Vital   Signs    Baseline               B/P                    P                       R                   5       Able   to   move   2 extremities




LAB VALUES                if    applicable                                 0 SAT                           U       Able   to triovc   0   extremities




BUN                  CREAT                    PT             PTT              Other
                                                                                                                   Alert awake
Age                                 Weight                           Height                                  H
                                                                                                                   Drowsy. but easily aroused
                                                                                                             tD
                     IC   t7/ý                                                                                 Amused by stimuli
Allergies.                                                                                                   y
                                                                                                             A
                                                                                                             r       aroused by vigorous

                                                                                                         v                       continuous     stimuli


ID Bracelet                    Yes        L    No    Q                                                 J H Responds

                                          W
                                                                                                                                 to pain   only

                                                                                                             o No response to pain

Consent                        Yes             No    Q

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                                                                                                       SKIN

Prep Skin                      Yes             No    Q       Prepsite

Betadine     0            FIB/CLENS            Q              OthetO
                                                                                                       R
                                                           0-
                                                                                                                          Respirations
                                                                                                       E
Pregnant                       Yes      Q            No               LIMP

                                                                                                       P
Contrast    Type                                              Amt                                                         Breath

            PRIOR CONTRAST                                     Q No               Q Yes                I


                                                                                                                          Sounds
                                                                 D                                     R
      CONTRAST REACTION                                               No          13    Yes
                                                                                                       A
HISTORY
                                                                                                       T
        RESPIRATORY                                      CARDIOVASCULAR
                                                                                                       0
        3   Asthma                                         Q CHF                                                          02
                                                                                                       R
        Q COPD
        Q SOB
                                                           QANGINA
                                                           Q HTN
                                                                                                       Y                                                          ý      L
                                                           Q MI
                                                                                                       C                  EDEMA
                      W                                    Q Murmur/Arrythmia
        ScE                                                                                            A
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                                                                                                       D
        Nuerologic                                        LiverMetabolic                               I
                                                                                                                          APICALIRADIAL
        Q TIA                                            Q     Jaundice                                                   PULSES
        Q CVA                                            Q     Hepatitis
                                                                                                       0
                                                                                                                                                             -   /ý
                                                                                                       A
        0 Seizure                                        Q    Bleeding     Problems
                                                                                                       S                  PULSES                Ext.                             Pulse
                                                         Q    Diabetes
                                                                                                       C                                                            Femoral       Dorsal       Pedis
Other serious        illness List
                                                                                                       U
                                                                                                                                                                                 Post         Dictal
                                                                                                       L
                                                                                                       A                  PRE                     R
Current Medication                                                                                     R                                        L
                                                                                                                          POST                    R
                                                                                                                                                L


Teachings                      Written                 Verbal                 Flouro

Pre   Procedure                     Q                                         Time
                                                                                                           DRSG/INCISION                          Q Bandaid                      Q Sutured
Post Procedure                      Q
                                                                                                           Skin Post           Op                 QTegaderm                      13 Steri   Strip
Post Sedation
                                    Q                     Q
Comments
                                                                                                           PUNCTURE                        Bleeding                Absent    Q              Present    Q
                                                                                                           SITES                                                   Absent    Q                         Q

                                                     0
                                                                                                                                          Swelling                                          Present



                                    -Jý rt                       Time
                     byK                                                                                                                   to
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Report called                                   C-
                                                                                                                  Report       given

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Dismissed    to      room                                                                  home     accompanied                by
Dismissed    per                    W/C            Stretcher                  -Bed                   Ambularoty                     Discharged            Time

Transportation        called         at        I S
                 Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 11 of 150

         Radiologist                               Q ýNt          ItAýýPýoý
                                                                                     Vital   Signs                                                      NURSES NOTES

                                                              Time                     02 Sat                                                                             -


                                                                                                                                                   P
         Nurse                                                         B.P.                          Heart          Reap

                                             1Ii     fCE                                             Rate           Rate
                                                                                                                                  I1     W-                 aiu

         Technologist                   AA   b.Lw                 \    147/51          16                            to                                                        1c
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           MEDICATION           ADMINISTRATION               I\        1   %-7          c            \         ti    1             o.          -tv-S        L        r C           sPv z
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                                    INTAKE _




                                OUTPUT




    96 92549 0 9367
    WILFORD  KANE
    BM Age 24y DOB                           05/14/74
    Visit/Admit Dt                           12/07/98
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                                                                             HERMANN HOSPITAL
                                                                             Pt.      HP        /   Prog Notes



                                                                                      96 92549 0 9367
                                                                                      WALTER  KEVIN
                                                                                      BM Age 24y DOB                         05/04/74
                                                                                      Visit/Admit Dt                         12/07/_98




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                                                                                                                                          Date   of Service




Date   Time




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                  Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 13 of 150




                                                                               Date   of Service




Date      Time



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            Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 14 of 150
                                                                                        HERMANN HOSPITAL
                                                                                        Pt.   HP          /   Prog Notes




                                                                                              96 92549 0 9367
                                                                                          WALTER   KEVIN
                                                                                          BM-Age- 24y DOB                     05/04/74
                                                                                          Visit/Admit Dt                      12/07/98




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                                                                         HERMANN HOSPITAL
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                                                                                                WILFORD  KANE
                                                                                                BM Age 24y DOB            05/14/74
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TRAUMA/CRITICAL
Patient
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          seen examined and discussed

Specifically   reviewed plan with Dr.
                                                     with
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Patient   seen examined                and discussed       with         L-T-rau          Team           ICU Te

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Your patient has been evaluated by the Respiratory Therapy Consult Service. Based on the clinical
indicators derived from the following assessment the Care plan designated below will be implemented

               Breath                                                                                                 Sputum
               Sounds                    Breathing       Pattern                 Cough                                Production                        Mobility



     O clear                           Q nonlabored                 O     strong                         Q none                                O ambulatory
     0 diminished 6LL_                 Q labored                          fair                           ism.           amt.                   up        w/ assist


    IA
            fine                       shallow                      Q     weak                           Q      mod. amt.                      Q     bed    rest


    Q coarse                           Q irregular                  Q absent                             Q      Ig.   amt.                     Q paraplegia
    Q wheezes                             rapid                                                                                                Q quadriplegic
                                                                                                          Consistancy/Color
    Q absent                           Q mech. vent.                                                            thin
    3 stridor                                                                                            O mod
                                                                                                         Q thick
               Mental                                                            Vital                                                                  Lung

              Status                       Chest X-ray
                                                                                                                         Lab                           Volumes
                                                                                 Signs

                                       Q clear                                                                                                             Actual
            alert
                                                                     HR                                   WBC                                   PF            IC       VC
     Q obtunded                        j  infiltrates



     Q confused                        O atelectasis                 RR                                   Hg

     Q unresponsive                    O pleur. effus.                                                                            t                    Predicted
                                                                     BP                                   Sp02            ý7
                                       Q pulm. cont.                                                                                            PF            IC       VC
                                       Q  rib   fx
                                                                     Temp         12L
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                                                            RESPIRATORY CARE PLAN
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Medicated     Aerosol Therapy            MDI         IPPB    Frequency              Bronchial   Hygiene    Therapy           PD       Perc     IPV       Frequency
                                  NEBC
Aerosolized Medication
                                  M                                                 Spinal   Cord   Protocol-                                            Frequency



Volume Expansion        Therapy   IS     1DB                 FrequencyOxygen                  Therapy                        F102     LPM          Delivery   Device   LL_J_

Comments




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                                                                                     WILFORD  KANE
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       CRITICAL CARE     ATTENDING    NOTE     Date   1               PATIENT   W
       Patient   seen examined and discussed   with       ra   a   Team/ICU Team SPeci    IIY   reviewed    plan with Dr.




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  Your patient has been evaluated                 by the Respiratory Therapy Consult Service. Based on the clinical
  indicators               derived from the following assessment the Care plan designated below will be implemented

                      Breath                                                                                                Sputum
                     Sounds                     Breath         Pattem                Cough                                  Production                          Mobility


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                                                                                                                                                            ambulatory
          Q       diminished                  Q  labored                       air                               Q    sm. amt.                                p w/    assist

          Q fine                              Q shallow                   Q    weak                              Q mod. amt.                          Q     bed rest

          Q coarse                            Q irregular                 Q    absent                            Q   amt.
                                                                                                                      1g.                             Q paraplegia
          Q wheezes                           Q rapid                                                                                                 Q quadriplegic
                                                                                                                 Consistancy/Color
          Q absent                            Q mech. vent.
                                                                                                                 Q thin
          Q stridor
                                                                                                                 Q mod.
                                                                                                                 Q thick
                     Mental                                                          Vital                                                                      Lung

                     1 LS                         Chest X-ray                        Signs                                    Lab                              Volumes

                                              Q clear
                                                                                                                                 7
                                                                                                                                                                 Actual
          EYalert
                                                                          HR                                     WBC                                                            VC
          Q obtunded                          Q  infiltrates                                                                                           PF             IC


          3 confused                                                      RR           /6                        Hg
                                                                                                                                                                           m/
                                              Qýatelectasis
                                              B Pleur. effus.
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          Q unresponsive                                                             11-17/11-7                                                                Predicted

                                              Q pulm. cont.               BP                                     Sp02                                  PF             IC        VC
                                              3  rib fx
                                                                          Temp                                               3-DIý
                                              Q not avail.
                                                                 RESPIRATORY                 CARE PLAN




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         431485



  Medicated         Aerosol   Therapy   NEB     MDI       IPPB    Frequency               Bronchial    Hygiene    Therapy        PD        Perc       IPV        Frequency


  Aerosolized        Medication                                                           Spinal   Cord Protocol-                                               Frequency


  Volume Expansion            Therapy   IS      IDB               Frequency               Oxygen      Therapy                    F102      LPM             Delivery   Device



  Comments
                              /ýý                     ancrr-                                           woe            6ýý ff s Gýc       crL   f z7




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                                                                                                                 HERMANN HOSPITAL
                                                                                                                 Pt.    HP    /   Prog Notes
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                                                                                                                 WILFORD  KANE
                                                                                                                 BM Age 24y DOB                         05/04/74
                                                                                                                 Visit/Admit Dt                         12/07/98




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                                                 TRAUMA/GENERAL     SURGE                                    Y   ATTENDING NOTE
                                                 Date    115    Patient

                                                 Pt   seen examined                          discussed           with   Dr.

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                                                Frederick            A.       Moore M.D.




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                Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 45 of 150




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                                                 HERMANN HOSPITAL
                                                 Pt.      HP Prog  /       Notes




                                                      96 92549 0 9367
                                                       WILFORD  KANE
                                                                                        05/04/74
                                                       BM Age 24y DOB
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                                               HERMANN HOSPITAL
                                               Pt.   HP   /   Prog Notes



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           Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 49 of 150



      HERMANNHOSPITAL                                             PROFESSIONAL  SERVICES PROVIDED   BY
 PARTMENT      RADIOLOGY
                OF                                                    DEPARTMENT OF RADIOLOGY
  TEXAS MEDICAL CENTER                                                THE UNIVERSITY  OF TEXAS
       6411 FANNIN                                                   MEDICAL SCHOOL AT HOUSTON
HOUSTON   TX 77030-1501                                               6431  FANNIN SUITE 2.132
      713 797-2800                                                         HOUSTON TX 77030
  713 793-5344 FAX                                                            713 792-5235


PT NAME WILFORD              KANE                                 ORDD   BY DUKE JAMES H. TRAUMA
DOB 05/14/1974               AGE      24      SEX    M            DT PERF 12/10/98    AT   0500 HRS.
MR     96925490        9367           STATUS         IA           REQUISITION NO   01232089
                                                                 .ME RECORDS CHART COPY
N/S  ORTR RM/BD             J553        OR   VISIT CLINIC
INDICATIONS  OPN            WOUND    SITE    NOS-COMP

EXAMS      PERFORMED          ABDOMEN        SINGLE VIEW

PORTABLE    ABDOMEN          12-10-98
INDICATION           Open    wound.


IMPRESSION
1.  Recommend repositioning feeding tube more distally in proximal
GI tract if   possible.
2.  Loops  of  large and small bowel are still distended. This
nossibly represents   ileus.


..INDING    Note that the film was obtained on 12-10-98 but just
now  returned for interpretation.    The feeding tube tip is now
located near the gastric body and the nasogastric tube tip is
located in the left upper quadrant    of the gastric fundus.  The
distended-loops  of large  and small  bowel are essentially unchanged.




                                              READ   RADIOLOGIST
ATTN MD DUKE          JAMES     H.    TRAUMA-             RESIDENT
APPROV RAD                                                      RESULTS   RECD   98/12/30   0927
RESULTS   APPROVED            12/10/98        0500              RESULTS   READ
                                                     PAGE   1
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                                                             HERMANN HOSPITAL
                                                             Pt.   HP   /   Prog Notes




                                                               96 92549 0 9367
                                                              WILFORD  KANE
                                                              BM Age 24y DOB                       05/04/74
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                                                              HERMANN HOSPITAL
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                                                              96 92549 0 9367
                                                              WILFORD  KANE

                                                              _---Visit/Admit
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Specifically     reviewed plan with Dr.

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Frederick   A.   Moore M.D.
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                                                             HERMANN HOSPITAL
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                                                   HERMANN HOSPITAL
                                                   Pt.   HP    /    Prog Notes




                                                         96 92549 0 9367
                                                         WILFORD  KANE
                                                         BM Age 24y DOB          05/14/74
                                                         Visit/Admit Dt          12/07/98



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TRAUMA/CRITICAL               CARE ATTENDING                 NOTE     -   Date                        Patient        Wk
Patient   seen examined         and discussed            with             trauma Team                       /    1tU Team
Specifically     re yiewwed   plan with       Dr.                6                                                             11ý1
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                 System                                              Comment                                                                                          Plarlf   1   f -5Q
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 Cardiovascular        MAP Cý             P




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 Abdomen          j                                                           Stress   Gastritis




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Frederick   A.   Moore M.D.                                                                                                                   2ýL.__
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S/TICU PROCEDURE                              LINE                TION           Date  ýL           /I/jj                Time
Line type    PAC                                           CVP                    A-line                  Jug         Bulb
Indications                         Hypotension                   ypertension                  Oliguria         Pacing              Fluid     infusion       Hyperventilation

Heart    failure            Resp         ai         ARDS    PEEP
                                                             Hypoxia                          Shockcardio             hypovol        septic
                      ischemia           Tachycardiaunexplained      No                      peripheral        site    available
Myocardial
Emergent

Prep   etadine                  Alcohol          Other                                       Anesthesia                Lidocaine      1%      None      Other

Side   Rig t                ýf1                 Site             1J       El         Femoral       Radial        Axillary           Dorsalis         pedis      Jug       Bulb   Other




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Cath Size                          Technique                          ver-wire               New   puncture



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X-ray    N/A                    Pneumothorax                                   position
Complications
Procedure note                      V
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Attending                                                                        Resident           _i                                      tZ_IQ3C
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                                                HERMANN HOSPITAL
                                                Pt.   HP   /   Prog Notes




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                                                      WILFORD  KANE
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        HERMANN
             HOSPITAL                                             PROFESSIONAL  SERVICES PROVIDED     BY
 PARTMENT   OF RADIOLOGY                                              DEPARTMENT OF RADIOLOGY
 TEXAS MEDICAL CENTER                                                 THE UNIVERSITY   OF TEXAS
       6411 FANNIN                                                   MEDICAL SCHOOL AT HOUSTON
HOUSTON   TX 77030-1501                                               6431 FANNIN    SUITE 2.132
      713 797-2800                                                         HOUSTON   TX 77030
     713    793-5344       FAX                                               713 792-5235


PT   NAME    WILFORD       KANE                                   ORDD BY DUKE       JAMES H. TRAUMA
DOB      05/14/1974        AGE      24     SEX M                  DT   PERF 12/12/98    AT 1325   HRS.
MR       96925490     9367          STATUS            IA          REQUISITION   NO 01233589
                                                                  MED RECORDS   CHART COPY
N/S  STIC RM/BD  STIC19   OR VISIT CLINIC
INDICATIONS  OPN WOUND  SITE NOS-COMP

EXAMS       PERFORMED        CT   CHEST    W/O    CM

THORACIC CT 12/12/98
REASON FOR STUDY    Open             wound       and possible      fluid.


IMPRESSION
1.  Bibasilar atelectasis                versus       pneumonia    right     greater than
left.
2.   Loculated right hydropneumothorax.
3.   Large liver laceration/hematoma  or infarction.  Recommend
 irrelation with the recent body CT.    There is also suggestion of
 large subcapsular hematoma and a small amount of fluid in the
hepatorenal       space.


TECHNIQUE       7 mm thick      transaxial unenhanced helical CT images
were obtained    from   the   lung   apices down through the diaphragm.
FINDINGS      A right hydropneumothorax            is present.    Linear densities
seen  within  the   air   component     of   the  hydropneumothorax     are
compatible   with   loculations.        A   right  thoracotomy   tube   has been

placed  with  its   tip   located    posteriorly     within  the   fluid  component
of the hydropneumothorax.          A bullet fragment occupies the left lung
apex and this results in artifact.                Right lower lobe density
containing   air  bronchograms       is   compatible    with atelectasis versus
pneumonia..   Similar     but   less  pronounced findings are seen in the
left  lung  base.    A  large irregular hypodense defect is noted
throughout the right hepatic          lobe compatible with hematoma versus
infarction.     Recommend     correlation      with the recent body CT.
Hypodense region seen superiorly             and  laterally about the right
hepatic lobe has      the   appearance     of  a  subcapsular hematoma.
Hypodensity in the hepatorenal            pouch is consistent with a small
amount of free intraperitoneal            fluid.




                           READ RADIOLOGIST
...T MD  DUKE JAMES H. TRAUMA      RESIDENT
                                                                            RECD
                                                  -




APPROV RAD                              RESULTS                                     98/12/15   0923
RESULTS APPROVED  12/12/98 1325         RESULTS                             READ
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                                                                                           HERMANN HOSPITAL
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TRAUMA/CRITICAL           CARE ATTENDING            NOTE   -   Date       j           Patient         Uý   i
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                                                with           t/Trrraurtta    Team               ICU Team
          seen examined and
                            discussed
Patient
                                      Dr.
Specifically reviewed plan
                               with

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                                                           Comment
             System


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 Pulmonary


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                                                                 DVT Prophylaxis
  I/O           QO    i   LI



  ID    Tm3ýy5W6                      CQ                         Antibiotics


Frederick A.   Moore M.D.
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    HERMANN HOSPITAL                                             PROFESSIONAL  SERVICES PROVIDED   BY
 APARTMENT OF RADIOLOGY                                              DEPARTMENT OF RADIOLOGY
     TEXAS MEDICAL CENTER                                            THE UNIVERSITY  OF TEXAS
         6411 FANNIN                                                MEDICAL SCHOOL AT HOUSTON
HOUSTON       77030-1501
             TX                                                      6431 FANNIN   SUITE 2.132
       713 797-2800                                                       HOUSTON TX 77030
     713 793-5344 FAX                                                        713 792-5235


PT NAME WILFORD          KANE                                    ORDD BY DUKE     JAMES H. TRAUMA
DOB 05/14/1974           AGE       24  SEX      M                DT PERF 12/12/98    AT  1325  HRS.
MR      96925490     9367          STATUS       IA               REQUISITION NO 01233579
                                                                 MED RECORDS CHART COPY
N/S  STIC RM/BD         STIC19    OR VISIT CLINIC
INDICATIONS  OPN        WOUND  SITE NOS-COMP


EXAMS       PERFORMED       CT ABDOMEN    W/CM

HISTORY       Open   wound    site.
CT   SCAN   OF THE   ABDOMEN

IMPRESSION
1.  Bilateral lower lobe atelectasis and right pleural effusion.
2.  Large irregular defect  right lobe of the liver either hematoma
or infarct.
    Ileus.


-this exam was performed with IV contrast only.       Bilateral lower
lobe  atelectasis is noted right greater than left.         There is .
right  chest  tube  as well  as small  right  pleural effusion  noted.
There is a large irregular defect      involving the entire right lobe
of the liver with varying degrees of hyperdensities.         There is also
a large perihepatic     fluid collection.    These findings are
consistent   with a-hematoma or liver infarct.      The kidneys   spleen
pancreas   are   otherwise  unremarkable.    There is diffuse dilatation
of both large and small bowel of the abdomen consistent        with an
ileus.   These findings were discussed with the patients attending
resident.




                                         READ       RADIOLOGIST
ATTN MD DUKE         JAMES    H.   TRAUMA              RESIDENT
APPROV RAD                                                     RESULTS   RECD.   98/12/14   2127
RESULTS     APPROVED        12/12/98     1325                  RESULTS   READ
                                                    PAGE   1
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                                                    HERMANN HOSPITAL
                                                    Pt.   HP Prog Notes
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                                                      WILFORD  KANE
                                                      BM Age 24y DOB        05/14/74
                                                      Visit/Admit Dt        12/07/98



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                                                              HERMANN HOSPITAL
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                                                                    WILFORD  KANE
                                                                    BM Age 24y DOB          05/14/74
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5/TICU PROCEDURE
             PAC
                    LINE                               N
                                                       CVP
                                                             RTION            Date
                                                                               A-line             Jug
                                                                                                      f     Time
                                                                                                         Bulb
Line type
Indications    Hypotension                                   Hypertension              Oliguria       Pacing           Fluid       infusi         Hyperventilation

ieart    failure           Resp          fail   ARDS       PEEP
                                                             Hypoxia                  Shockcardio            hypovol      septic

                    ischemia             Tachycardiaunexplained                 No   peripheral       site    available
                                                                                                                --ý
Myocardial
Emergent              er
Prep         Betadin           Alcohol          Other                                Anesthesi               Lidocaine     1       None      Other

Side                          eft               Site                            Femoral    Radial       Axillary          orsalis         pedis      Jug   Bulb     Other

Cath Size                             Technique               Over    wire           New   puncture

X-ray   N/A                        Pneumothorax                   i              ion




                                         7-R
Complications
Proceduree            note          ý/py1-ý1           ýýý            ý .Sc-               S 1      ý ýý           rndt    ýh
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Attending                                                                       s ident       G
 SA     NC     CC    SK      LP     AT




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                                                    BM Age 24y DOB
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                                                    Visit/Admit Dt      12/07/98



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    HERMANN HOSPITAL                                          PROFESSIONAL SERVICES PROVIDED   BY
 3PARTMENT   OF RADIOLOGY                                         DEPARTMENT OF RADIOLOGY
  TEXAS MEDICAL   CENTER                                          THE UNIVERSITY  OF TEXAS
       6411 FANNIN                                               MEDICAL SCHOOL AT HOUSTON
HOUSTON    TX 77030-1501                                          6431 FANNIN SUITE 2.132
       713 797-2800                                                   HOUSTON   TX 77030
     713 793-5344 FAX                                                    713 792-5235

PT    NAME      WILFORD    KANE                               ORDD   BY DUKE     JAMES H. TRAUMA
DOB      05/14/1974        AGE        24    SEX M             DT   PERF 12/12/98    AT  1325
MR
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INDICATIONS  OPN WOUND SITE NOS-COMP

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CT SCAN      OF THE ABDOMEN

IMPRESSION
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ATTN MD DUKE JAMES H.   TRAUMA                         RESIDENT
APPROV RAD-                                                RESULTS   RECD   98/12/14   2127
RESULTS APPROVED 12/12/98   1325                           RESULTS   READ
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                                                                            HERMANN HOSPITAL
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                                                                  WILFORD  KANE
                                                                  BM Age 24y DOB            05/14/74
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                                                                                          HERMANN HOSPITAL
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                                                                                                WILFORD  KANE
                                                                                                BM Age 24y DOB                     05/14/74
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                                                                                                            WILFORD  KANE

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  Date        Time                3 I1D



Your     patient        has been evaluated                 by the Respiratory
                                                            Therapy Consult Service. Based on the clinical
indicators          derived from the following assessment the Care plan designated below will be implemented

                Breath                                                                                                             Sputum-
                Sounds                      Breathing Pattern                                Cough                                 Production                           Mobility


     E clear                            pnonlabored                         pstrong                                     Q none                                 Q     ambulatory

            diminished                  Q    labored                        Q     fair                                  91m. amt.                              Q- up w/ assist
     Q fine                             Q    shallow                        Q weak                                      Q mod. amt.                            Q     bed rest

     Q coarse                           Q irregular                         Q absent                                    Q    1g.   amt.                        Q     paraplegia

     Q wheezes                          Q    rapid
                                                                                                                        Consistancy/Color
                                                                                                                                                               Q     quadriplegic

     Q absent                           Q    mech.       vent.
                                                                                                                        Q thin
     Q stridor
                                                                                                                        Q mod.
                                                                                                                        Q-thick


               Mental                                                                        Vital                                                                     Lung

               Status                         Chest X-ray                                    Signs                                   Lab                               Volumes

                                        Q    clear
                                                                                                                                    Jb
                                                                                                                                                                         Actual
                                                                                                                        WBC
                                                                                             3Lý
                                                                                                                                                                                       VC
            alert
                                                                             HR                                                                                 PF
                                                                                         I



                                        Q                                                                                                                                     IC
     Q obtunded                              infiltrates


                                        Qatelectasisýs                                                                                q
     Q confused                                                              RR                                         Hg
     Q unresponsive                     Q    pleur. effus.
                                                                             BP
                                                                                                                                    -F9                                Predicted
                                        p                                                                               Sp02
                                             pulm. cont.                                                                                                        PF            IC       VC
                                        Q    rib   fx
                                                                            Temp
                                        Q    not   avail.


                                                                 RESPIRATORY                         CARE PLAN
  431485




Medicated     Aerosol   Therapy   NEB       MDI         IPPB     Frequency                      Bronchial   Hygiene      Therapy          PD      Perc         IPV      Frequency


Aerosolized    Medication                                                                       Spinal   Cord   Protocol-                                               Frequency
                                                                                    D


Volume   Expansion      Therapy   IS        IDB                  Frequenc                       Oxygen Therapy                            F102    LPM              Delivery   Device


Comments




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                   Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 97 of 150




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                                                                                 HERMANN HOSPITAL
                                                                                 Pt.   HP        /   Prog Notes



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                                                                                   WILFORD  KANE
                                                                                   BM Age 24y DOB                               05/14/74
                                                                                   Visit/Admit                         Dt       12/07/98




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                                                                       HERMANN HOSPITAL
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                                                                         WILFORD  KANE
                                                                         BM Age 24y DOB                  05/14/74
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                                                   WI..JFORD            KANE
                                                   BM Age 24y DOB                      05/14/74
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          Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 104 of 150
                                               HERMANN HOSPITAL
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                                                   WILFORD  KANE
                                                   BM Age 24y DOB      05/14/74
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                                                                                         HERMANN HOSPITAL
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                                                                                         Pt.   HP       /
                                                                                                            Prog Notes




                                                                                                                                             Date   of Service



Date      Time




       TRAUMA ATTENDING NOTE            Date     1      Z         PATIENT
                                                                                                                       Sý S
       Patient   seen examined and   dismissed   with   ..   auma Team      ICU   Team    p    ically
                                                                                                            reviewed   plan with   Or.




                                                                   Coaunant-.
             System-....         ...                                                                                                                   Plitt




                                         ý       v S                                      .ýý                                                                           mac.




                                                                                                            Signature


                                                                                                                                         C            Cocanour   M.D.
                Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 107 of 150




    HERMANN HOSPITAL                                              PROFESSIONAL SERVICES PROVIDED        BY
  PARTMENT OF RADIOLOGY
     t


                                                                      DEPARTMENT OF RADIOLOGY
  TEXAS MEDICAL CENTER                                                THE UNIVERSITY  OF TEXAS
       6411 FANNIN                                                   MEDICAL SCHOOL AT HOUSTON
HOUSTON TX 77030-1501                                                 6431 FANNIN   SUITE 2.132
      713 797-2800                                                        HOUSTON   TX 77030
   713 793-5344 FAX                                                          713 792-5235

PT       NAME  WILFORD    KANE                                   ORDD   BY DUKE JAMES H. TRAUMA
DOB       05/14/1974     AGE          24     SEX M               DT PERF 12/13/98  AT   0312 HRS.
MR        96925490    9367            STATUS       IA            REQUISITION NO 01232038
                                                                 MED RECORDS CHART COPY
N/S  STIC RM/BD             STIC19   OR VISIT CLINIC
INDICATIONS  OPN            WOUND  SITE NOS-COMP

EXAMS           PERFORMED     CHEST    1    VIEW   110 KV @ 8.OMAS

CLINICAL INDICATION   Endotracheal tube placement.
PORTABLE AP SUPINE CHEST  12-13-98 0330 HOURS

IMPRESSION
Bilateral patchy            alveolar       infiltrates    not   significantly improved.
The right-sided chest tube is stable in position.     There is
interval placement   of an endotracheal  tube at the level of the
m-dial ends of the clavicles   and a left subclavian  line within                          the
   Derior vena cava.   A previously noted Dobbhoff tube has been
removed.   There-is interval placement of a nasogastric tube.

Comparison with          12-12-98.




                                             READ. RADIOLOGIST
ATTN MD DUKE JAMES H.   TRAUMA                           RESIDENT
APPROV RAD                                                     RESULTS   RECD   98/12/14         0819
RESULTS APPROVED 12/13/98    0312                              RESULTS   READ
                                                   PAGE    1
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                                               HERIVIANN                HOSPITAL
                                               Pt.     HP Prog
                                                          /             Notes




                                                   96 92549 0 9367
                                                WILFORD  KANE
                                                BM Age 24y DOB                  05/14/74
                                                Visit/Admit Dt                  12/07/98




                                                                                   I
                                                                                       Date      of Service




       2S
Date   Time




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                                                                                  Date   of Service   Ja-   d   CL   ýý
Date        Time



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                                                                                 HERMANN HOSPITAL
                                                                                 Pt.   HP       /   Prog Notes




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                                                                                  WILFORD  KANE
                                                                                  BM Age 24y DOB                       05/14/74
                                                                                  Visit/Admit                     Dt   12/07/98



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                                                                                                                              Date   of Service




                                Q\r-Pt
    Date        Time            TRAUMA/GENERAL            SURGERY     ATTENDING         NOTE
                                Date W             ý_ Patient
                                  seen examined           discussed   with Dr.




                                   System                 Comment                           Plan



                                 Neuro                          C_




                                                            9_
                                 Pulmonary                      WLZ-ý                                    g
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                                Frederick A.       Moore M.D.




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                                                                                 Date   of Service



Date        Time



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                                                                                                                HERMANN HOSPITAL
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                                                                                                                                                                     of Service




  Date           Time




 Your       patient          has been evaluated                   by the Respiratory Therapy                               Consult Service.                 Based on the clinical
 indicators             derived from the following                       assessment               the           Care plan designated- below                      will      be implemented

                      Breath                                                                                                                Sputum
SS 3                  Sounds                    Breathing         Pattern                        Cough                                      Production                      Mobility



       clear                                        nonlabored                       Q                                                                           Q ambulatory
                                                                                X                                            none
                                                                                          strong

                diminished                    Q labored                                   fair                               Q m. amt.                                    up w/ assist

       Q fine                                 Q shallow                         Q         weak                                   Q    mod. amt.                  Q     bed rest

       Q coarse                               Q irregular                        Q        absent                                 Q    Ig.   amt.                 Q paraplegia
       Q wheezes                              Q rapid                                                                                                            Q quadriplegic
                                                                                                                                 Consistancy/Color
       Q absent                               Q mech. vent.
                                                                                                                                 Q thin
       Q stridor                                                                                                                 Q mod.
                                                                                                                                 Q thick
                  Mental                                                                         Vital                                                                      Lung

                  Status                            Chest X-ray__                                                                             Lab                           Volumes
                                                                                                      JSiggns




                alert


       Q obtunded
                                              Q clear
                                              Q     infiltrates
                                                                                     HR          Zy                              WBC                                 PF
                                                                                                                                                                             Actual
                                                                                                                                                                                 aI

                                                                                                                                                                                           VC

       Q confused                             Q atelectasis                          RR          Z0                              Hg
       Q unresponsive                         Q pleur. effus.                                                                                                              Predicted
                                                                                     BP
                                              Q pulm. cont.                                                                      Sp02
                                                                                                                                                                     PF           IC           VC
                                              Q     rib fx
                                                                                 Temp
                                              Q not     avail.


                                                                     RESPIRATORY                           CARE PLAN
    431485



 Medicated       Aerosol     Therapy    NEB     MDI          IPPB        Frequency                   Bronchial         Hygiene    Therapy          PD     Perc   IPV        Frequency


 Aerosolized Medication                                                                              Spinal       Cord   Protocol-                                          Frequency


 Volume     Expansion        Therapy    IS      IDB                      Frequencc                   Oxygen Therapy                                F102   LPM         Delivery    Device


 Comments               A        ..




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                                 BM Age 24y
                                                   Dt      12/07/98
                                 Visit/Admit


                                                                                       Date of Service




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                                                          HERMANN HOSPITAL
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                                                           WILFORD
                                                                       DOB 05/14/74
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                                                                                          Date   of Service




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                    Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 115 of 150
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                                                      12/07/98


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Date     Time



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                                                     Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 116 of 150
                                                                                         HERMANN HOSPITAL
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         NAME                                                                                                              I




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      PreOp           DX/ICD        9     CODE                                                                                                                                                                r                                                                                                             ---1
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                                                                                                                                                                                                                         96 92549 0 9367
                            N     CP
                                                                                                                                                                                                                         WALTER  KEVIN
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                                                                                                                                                                                                                         BM Age 24y DOB                                                           05/04/74
                                                                                                                                                                                                                         Visit/Admit Dt                                                           12/07/98
         DATE                       ATT         SURGEON                                                    10
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      Q MAC
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      Q MAC     DRUG       with                                                                                                                                                                                                                                                                                                                                        SYSTOLIC                     I


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      RJV
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      D PRE 0 Q CRICOID                                PR.
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      Q MASK D LMA
                Q ORAL NASAL                                                                     C                                                                                                                                                                                                                                                                               20
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        AIRWAY
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                 T/                             at



                im                                                       cm
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      Ib        ORAL        D NASAL                                                                                                                                                             01

      Q TRACHEOSTOMY
      Q TOPICAL DRUG
                                          _%-ml                                                            hriý            c                                                                    DO                       10                                                                                                                                                73v
         Q TRANSTRACHEAL DRUG                                                                                                                                                                                                 06                         _
                                                                                                                                                                                                                                                                                    C                              7
     D AWAKE 0 RAPID SEQUENCE                                                     Vent          RateNol                                                       V                                                   n                                              ýO                                                                             V

     9              D BLIND
                                                                                                                                                                                         -It                                  S                                  2
                                                                   _
       DIRECT                   VISION
                                                                                   Pip/Peep                                                                                       b                                                                                                          1
     p FIBEROPTIC ESTYLET
     2          BLADE/                       ATTEMPTS                              ETCO                                                                                         45                                        4 3                                                            6
         Q      DIFFICULT           WHY
                                                                                   R0/OSAT
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         D      BILAT             BSB CO TRACE                                     RBC                                                                                                                                                                                                                                                                                                          r




                SEMICLO                D CIRCLE                                    FFP/Colloid                                                                                    KC1                    I
                                                                                                                                                                                                                                                                                                                                                                2                 ýýAý                      ý
         D NON REBREATH
                                                                                   Crystalloid

         SPECIAL TUBE

         Q DOUBLE LUMEN                                                            Est Blood               Loss


         D LASER                                                                   Urine                                                                                                                                                             Uq                                 0
         QANE
         Q ANODE                                                                                                                                                                                7 3ý                                              -3                                    7                      ZZ          ý$               H        r          Z-2         3-7
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                STETHOSCOPE
                      PRECORDIAL
                                                                                   REGIONAL                 EXTREMITY/L                                                                                                                              ONAL BLOC                               ST     INJ            2ND          BOLUS               3RD     B
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                                                 E5                               Q SPINAL Q CAUDAL
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                 EMP        SITE                             112

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                RD MONITOR                                                        Q PUMP Q INTRATHECAL JFRC
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                PULSE OXIMETER                             0       EEG
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                PA OXIMETER                                D TEG                  NEEDLE/SPINAL      Q0                             g                                  W         EPIDURAL                                         g
                                                                                                                                                                                                                                          VOLUME
                CAPNOGRAPH/                                0 TCD                   POSITION                                                     SIT         ATTEMPTS                                                                              LEVEL/MOTOR
                                                           Q SONO                                                                                                                                                                         SENS



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                                                                                               Q                                     ON                                                                                                                                                                                                                                         Q YES
                AGENT                    ITOR
                                                                                   PARASTHESIA                          Yes                               SPECIFY                                                                         CATHETER                                                                                               POST     OP
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                                Q NO
                VENTILATOR
                                                                                                                               Q No                                                                                                                                                                                TIME
                                                                                   BLOODY TAP Q
                                                                                                                                                                                                                                               OUT               INTACT                       INT                                                ANALGESIA




                                                                                                                                _y
                NERVE           BLK MONITOR                                                                          Yes                               SF     BEFORE                            AFTER


                T1ON                                                               EPIDURAL SPACE DEPTH                                                           cm. LATH            INSERTED                                cm          TRANSPORTATIUR                T0          Q PACU              9ICU                0 OTHER
                     1ESSURE           P01           CKD
                                                                                                                                                                           EPIDURAL                                                       RELAXANT        REVERSED                    Q          Yes                No        0 TOF                  0 HEAD            LIFT
                                                                                   OPIOIDS/DOSE                   SPINAL
                 P CONTROL                             EYE CARE
                                                                                                                                                                                                                                                                       EKG              l5 PULSE              OX                            A AMBU                         02
                                                      Q
                                                                                                                                                                                                                                                                                                                                ETT
                                                                                   EPI/DOSE                SPINAL                                                          EPJDURAL
                HUMIDIFIER
                                                                                                                                                                                                                                                                                                                                                     Q
                                                            OINT


     D          BLD    WARMER                         R4 TAPE
                                                                                                                                                                                                                                                                      VENT                   Q SPONT                       19 COUTRL                      ASST.
                                                                                   COMMENTS
                                                                                                                                                                                                                                                                                              ý54 P
         D LIGHTS                                                                                                                                                          SET/L0T9
                                                                                                                                                                                                                                          RECOVERY           ROOM          BP       111                             7                   R           o            Sa02

         Q HEATERS                                    pAG TUBE                                                                                                                                                                                   0 NASAL              Q MASK                                                    Q CPAP
                                                                                                                                                                                                                                                             mill
                                                                                                                                                                                                                                          02                                                     C9 T.        PIECE

         Q HUGGERS                                                                 STAGE          OF LABOFC             0               0              SVE
                                         Q HYPOTHERMIA                                                                                                                                                                                    CONDITION
                                                                                                                                I           II




                BLANKET

                OTHER                                                              UTERINE             I     ISION      TLAC
                                                                                                                                        O                        _ DELIVERY TIME                                                                                                                                                                    434214      6/95            Page   1   OI




                                                                                                           3518872                                                              ME DC-..                          cRDS
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                                                                                                                                                                                                       96 92549
                                                                                                                           EVA      UATICN                                                                                        KEVIN
                                                                            ZRE-                PýESTHVIA
                                                                                                                                                                                                       WALTER                                            05/p4/74
                                                                                                                                                       -A                                                      24y
                                                                                                                                                                                                       BM Age
PREePDr
                                                                                                                                                                                                                                             DDB         12/07/98
PROPOSED                I
                                                                                                                                                                                                       visit/Adml
                                                                TiME                                                                               PRE      iv1ED                     ROUTE
DATE                                                                                                                                                                      TIPeME




             Q EL CTIVE                                        EMERGENCY                                                                           1.




                                                                            C OTHER
                                          7
                                                                                                                                                   2
MENTAL             STATUS                        ALERT




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ASA          STATUS               1
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Q        INSTRUCTED                   NPO   B       HRS.
                                                                                                                                                                                                    MEDICATIONS


    7    LAST        S OL D       IN   FAKE -___ /                                       ýfrJ     LAST        LIQUID       INTAKE




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             H4-ýQS
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     WT.           3                                     HT.                                            AGE..                             SEX.


TEMP                                                     9                                                    P             T         RESP.




                                                                    C
MEDICAL              HX/SYSTEM                  REVIEW                                                                                                                                              ALLERGIES
              RESP                Q COUGH                                                                                                                GI         Q PUD                                                 /ý

                                                                                                                                                                    Q HIATAL HERNIA
                                  Q ASTHMA                                               7                                                                                                                           ýýlý
                                  Q COPD                                                                                                                            Q REFLUX                        ANESTH.
                                                                                                                                                                                                                                                 ý
                                  Q SMOKING         PPDX                                                      YRS.                         G
                                                                                                                                                                                                      GTH                 ý
                                  Q VENT. DEPENDENT                                                                                    METABOLIC                    Q OBESITY
                                  Q SOB                                                                                                                             Q DM                            FAMILY     HX   Anesth.     Problems

                                                                                                                                                                    Q STEROIDS
                   CV             Q CHF                  ANGINA             3   -   2   -   I
                                                                                                 Sý                                                                 Q SICKLE CELL
                                                                                                 y0
                                                                                                                                                                    Q THYROID                                         PROBLEMS
                                                                                                         I



                                                                                                                                                                                                    SIGNIFICANT
                                  Q EXERCISE                                                                                         IV    y
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                                                               TOLERANCE

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                                  Q MURMURARRYTHMIA                                              4ý



             LIVER                Q JAUNDICE
                                  Q HEPATITIS                                                                                                                                                       ANESTHESIA        PLAN

                                  Q ETHANOL                                                                                                                                                                   GENERAL            Q REGIONAL            Q MAC
                                  Q BLEEDING _                          /
                                                                                                                                                                                                        WILL    ACCEPT         BLOOD             ES    ONO
NEUROLOGIC                        Q        Q SPINAL
                                          TIA                                       CORD              Q SEIZURE                                                                                                      NEFITS     DISCUSSED    AND AC

                                  Q CVA 0                      ICP                                    Q NEUROPATHY                                                                                             ATIENT          Q PARENT      Q OTHER
             T.ý
                                          GCS                                                         Q MYOPATHY
                                                                                                                                                                                                          OM        ENT
    PREGNANT                              YES                  DENIES

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             OB      HX           GRAVITY                                                               GEST AGE                           BIRTH         HX

                                  FETAL             RISK
                                                                                                                                                                                                                     .41




                                  L-NECK
                                  Q NORMAL C                                STRESSED               Q COMPROMISED
                       EXAM



                                       Y
    PHYSICAL

         AIRWAY                   CLASS             1I

                                  DENTAL            STATUS                      DENTURES                     Q CAPS         PTEETH             /
                                            MOBILITY



             LUNGS                        TIP-@VR1ýýrCbrýý
             HEART           ýGt G to                      f a      /




        BACK/EXT                                                                                                                                                                                    RESIDEN          IG   ATURE


    SIGNIFICANT              LAB
                                                                                                                                                                                                    rACULTY     SIGNATURE
                            ll-       ý
    Hb   /   Hct                                36 ýý                                           EKG


    Na   /   K         l-2ý1              I -ý                                                  ClR
                                                                                                                                                                           POST-DP    VISIT                     DATE                        17        TIME
                                                                                                COAL
    Glucose
                       t-l

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                 C                                                                                           TS       TC                                                                             ýý         i                                            LPG               v ýl
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    BUN
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                     eat.                                                                       Units                                                                                                                                                              I

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    RECOVERY                ROOM          NOTE                                          DATE                                  S.    TIME


                                                                    ýcfrc-ý-
                                                                                                                          57 Gc
                            Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 118 of 150

                                                                                                                  HERMANN HOSPITAL



   1S
 Operating             Room Record
                                                                                                                  Or Rec
   ý geon                                                                                     QQQ
         ..istant                                                                             QDQ                        96 92549 0 9367
                                                                                              111111
                                                                                                                         WALTER  KEVIN
                                                                                              11011
   2.
                                                                                                                         BM Age 24y DOB                          05/04/74
   3.
                                                                                              DQQ                        Visit/Admit Dt                          12/07/98
   4.
                                                                                              1100
   5.




   Time Scheduled                                                          Case   Priority         El   C         O.R.                                                     Date


                                                                           Res       /    CRNA / SRNA
                                                                                                                                                                           D
                                  t



     QQQ
   Anesthesiologi                                                          QDQ                                                  0011                              A                        DOD
   Anesthesia

     Q Q None                                   Q                                        Q Q Block                       Q Q Local                      Q Q Stand-by                   Q Q EPI Spinal
                                                                          S                                             r Riknjt
                                                               eneral


   Pre-operative             Diagnosis                                                                                                              Q   -   Y4   Aarwp
   Operations                              -f-U2-eý12t                   L14   PA                                                    CC cTF                            1                       Z


                                                                                                           r



   Post-operative             Diagnosis




   Laser        -8-                                             Microscope

   Scrub Nurse/Technician                                                                                         Circulating          Nurse

  1111                                                                   TO                                       QQQýQ                        g   J                         TO

         1111.                                       ON                  TO
                                                                                          n                       QQQ                                                        TO

  ýQ                                                                     TO                                       QQQ                                                        TO

  QQQ                                                                                                             QQD
                       _




  Time
                                                                         TO                                                                                                  TO

  111111                                                                 TO                                       QQQ                                                        TO

  111111                                                                 TO                                       Q11 Q                                                      TO

  Time patient                                                                                2n                  Time of operation
                                                                                    UPOU
                       arrives                                                            L
                                                In   OR.
   Holding Area                                                                                                   1.




  Anesthesia                                                                         1
                                                                                                                  2.                                                              111100-0 111311

                                                                                                                                                                                  QQQQ-DQQQ
   1st   Resident




                                                                                         14.
  Arrival       Time                                                                                              3.




                                                                                                                                                                                  Q Q Q D-Q Q 0 Q
  Surgeon

  Arrival       Time


                0D                            RS.                       0 0 Neuro             DD                          D D Dental       E1 0 Other                             0 Maxillo-Facial
                                                                                                                                           D 0 BurnQQ
                           C.v.                                                                         Plastic                                                             111



                0 O E.N.T                     0 0 G.U.                  00 Ortho              D D Thoracic                D Q Procto
                DID        Eye                0 0 Gyn                   0 0 Pedi              D O Hand                    D 0 Renal Trans.       rauma QQ

   Sponge        Count                                                                                      Closing       by

   Initial      by                                                                                          1st                       orrect

                                                                                                            2          Correc        correct


   Change         of Shift            by                                Correct/Incorrect/N.A.              Additional          By                                 Correct/Incorrect    N.A.


          Lap     Sponges                            OR.   -   4x8                       Peanuts                          Cottonoids                                                       Other


                                                                                                                                                            -tL




431913   9 95
                             Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 119 of 150

                                                                                                                                     HERMANN HOSPITAL
Operating             Room        Record
                                                                                                                                     Or Rec



                                                                                                                                      96 92549 0 9367
                                                                                                                                 WALTER  KEVIN
                                                                                                                                 BM Age 24y DOE                    05/04/74
         Bracel
                                                                                                                                 Visit/Admit Dt                    12/07/98
 Pre-op           -      i   sitioniQJJ
                                  9                                   Post-op                     /                51ý

 Consent                       Yes                  No        Q
                                                                               No Q                                                                                                                           N
                        /                                 Yes                                                                                                                                                      11
                                           Shaved                                                                                                                                                   14.
                                                                                                                                                                                                          f

 Prep
 Betadine         L                        Phisohex       Q                             Other              Q                         O.R.                                                  Date


 Skin      Pre-op



 Skin                         Sutured       Q           Sta    led                     Steri          strip    Q            O   en                                                 f
           Post-op



                                                                                       Yes                         No Q
                                                                                                                                                          r                                tQ
                      Position            Aids     Safety      Strap                                                                             i

 Operative




                                                               211540 2296                                 0LI.DE-2                      PA-176


 Indwelling            Catheter      Pre-opZýe            RU 16 T7                                         kE7T-G7Q              N.G.       Tube Pre-op


 Intra-o                        W                   D                                                                            Intra-op


 Nitrogen          Drill      Q Dermatome Q                   Drill    Q Other                                                   X-rays

                                      Unit                                                                                       Water       Pik/Wound    Lavage          Yes          Q          No
 Hypo/Hyperthermia
                                                                                                                                                     2000ccX           TURtubingX
 Type                                     Serial                                   Temp                                          Water/Saline


                                                                                          AT                                                9516 T                                     L
                                                                                                                                                                                       IC Q
                                                                                                                                                                                   j




                                                                                                                                                          Grounding site
                                                        ýWlvo
                                                                                                                                                                                                               f   E       /
 Electrosurgical              Units Type                                                                                             /


                                                                                                                                                          Grounding    Site
                                            Type                                                               Serial


                                                          Q                                                    Kidde    Q                                 Cuff     Single     Q            Double   Q
                       s                    Nitrogen




 ---ý--Irrigation
                                                    Location                                                   Pressure                              Up                            Down
 Checked          by
                                                    Location                   -                  --           Pressure                              Up                            Down
 Checked          by
                                      Type               L              Volume                    L                CC                Drugs On Field
                                                                        Volume                                                       Drug       Amount
 Asepto/Splash                        Type                                                i                     CC X
                                                                                                                                     Drug       Amount
 Antibiotic/Other               irrigation


 Drug            Concentration                                          raffwmýT-                                                    Drug       Amount

                                                                                                                                     Drug       Amount
 Drug             Concentration

                                                                                                                                     Drug       Amount
 Allergies
                                                    1
                        a




                                                                                                                                     Cultures
 Drains
                                                                                                                                                                              3.
  1



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                                                              4.
 2.


 F.S.      Yes    Q              o


 Specimens



 Implants               Serial                                     2ý                                  I




  Dressings                                                            S   -       1          Fi           -       X

                             QQ            R.R.         QQ             D.S.U.             QQ                     I.C.U.              Q      Nursing Unit          QQ      Other
  Deposition

                                                                               Burns                       Q                     Bums 11 Q                        Bums III        Q                                     Dirty   Q
  Wound                                                                                       I


                                                                                                                                                                                                                                Q
                Classification


                                Clean      B            Clean      Contaminated                            Q             Contaminated           Q                                                             Non Sur    ical



          .ark                                                                                                                                                                    -




                                                                                                                                                                                                          -70 8         U53
                                            ý                      t
                                                                           1




  Signature

431944   9195                                                                                                                                                 -
     Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 120 of 150



cc     JAMES   H.   DUKE   M.D.     FAX        7135007268


                                   HERMANN      HOSPITAL                                 5S
NAME    OF   PATIENT            WALTER      KEVIN      C.   WILFORD
UNIT                             96925490
SSN
DOB
ROOM    NUMBER
DATE    OF OPERATION             107/98
CO-SURGEON
ATTENDING  PHYSICIAN            JAMES     H.    DUKE   M.D.


SURGEON                         JAMES     H.    DUKE   M.D.


ASSISTANT      SURGEON          ERIK   A.K.     BEYER       M.D.


PREOPERATIVE        DIAGNOSIS                  Multiple gunshot wounds        of   the
                                               chest and abdomen.


POSTOPERATIVE        DIAGNOSES                 Multiple gunshot wounds of the
                                               chest and abdomen
                                               through-and-through  gunshot wound
                                               of the central portion of the
                                               liver right hemothorax.

PROCEDURES                                     Exploratory laparotomy   ligation
                                               of the common hepatic  artery
                                               cholecystectomy   coring the
                                               subcutaneous  transverse lower
                                               abdominal gunshot wound.

ANESTHESIA                                     General      endotracheal   anesthesia.

                                                            the
FINDINGS   Major hemorrhagic gunshot wound on the dome of
liver near its                      between             and
                anatomical division         the  right      left

lobes a left to right  subcutaneous gunshot wound  to  an immensely
thick lower abdominal pannus morbid obesity.

HISTORY OF PRESENT ILLNESS         This 24-year-old male sustained
multiple gunshot    wounds    on the  evening of admission. He had
evidence of a right hemothorax for which a chest tube was
introduced and produced a substantial amount of blood in the
early phases of its drainage process.           He also had an entrance
wound  in the   lower  abdomen   that  appeared  to have a transverse
trajectory   from  left  to   right.   He was somewhat  hypotensive in
the Emergency Center and was taken to the operating room in an
                                        control the hemorrhage that was
expeditious manner to attempt to
causing these changes      in  his  cardiovascular  function.




                                       OPERATIVE       REPORT
                                          CONTINUED
    Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 121 of 150



                                   HERMANN   HOSPITAL

WALTER      KEVIN   C.   WILFORD
UNIT        96925490
 PAGE   2




  PROCEDURE   IN DETAIL       Under satisfactory general anesthesia         the
  patient was prepped from his chin to his knees.            The entire
  operative field was draped out with sterile towels.              These were
  held in place with staples.         The remainder of the field was
  covered with sterile linen.         An incision was made in the mid
  abdomen initially      to explore the possibility of the lower
  abdominal gunshot wound entering the peritoneal cavity. During
  the process    of making this incision the transverse trajectory of
  the bullet was identified as being external to the peritoneal
  cavity.  The midline was opened with electrocautery           nonetheless
  in the event     that there had been an intraabdominal injury from
  the percussion     blast of the projectile.      There was an initial
  small amount of dark blood identified.          The incision was enlarged
  to be able to further explore the abdomen.           The more the wound
 was opened      the more blood seemed to be apparent.        It  then became
 clear that a significant amount of bright red blood was flowing
  from the upper quadrants. The incision was then enlarged to the
 xiphoid.    All of this dissection was rather tedious because of
 the enormous pannus of obese tissue.           It was necessary to taken
 down the falciform to gain enough exposure to be able to see the
 dome of the liver. When the dome of the liver was in clear view
 near the exact midline of the liver a surprising column of
 bright red blood exuded from this wound.           Attempting the Pringle
 maneuver    the blood flow ceased.        It  was apparent that a major
 hepatic artery injury had occurred.           Because the patient was
 sufficiently unstable         the dissection   of the common hepatic
 artery was expedited with no effort to identify the right or left
 branches.     The hepatic artery was identified and ligated and the
 hemorrhage ceased.       Because the ligation of the artery would
probably render the gallbladder ischemic            focus was then directed
 towards the removal of this organ.           This was accomplished     by
grasping the gallbladder with Kelly and Sarot clamps and placing
 it  on tension.      The peritoneal surface was then divided         and the
gallbladder dissected out of its adherence            to the hepatic     bed.
The cystic duct was identified and ligated.             The cystic artery
was also identified         doubly clamped and ligated with 2-0 chromic.
When the confluence        of the common duct and the cystic        duct were
identified      the cystic    duct was clamped and divided.       The cystic
duct was then closed with two separate 2-0 chromic             sutures.
Although extensive attempts were made to identify the defect               in
the diaphragm through which the bullet passed             they   were
unsuccessful.




                                   OPERATIVE   REPORT
                                     CONTINUED
      Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 122 of 150




                                           HERMANN   HOSPITAL

WALTER           KEVIN  C.     WILFORD
UNIT             96925490
PAGE       3




It was noted at this point that the blood flow from the chest
tube had now ceased.     It  was assumed that the blood was flowing
from the liver through the defect      in the diaphragm into the chest
and out the chest tube.      The abdomen   was irrigated with copious
amounts  of  saline.   The  midline  fascia  was approximated with two
1   looped  Maxon  sutures.  The subcutaneous    tissue was approximated
loosely  with  2-0  chromic  sutures.   The  gunshot  wound on the
inferior aspect of the left side of the abdomen was.dressed by
removing      site of entry where
                    the           the tissue had been damaged.
Although  there was no evidence of an exit wound on the right
side a defect in the skin was created there for the purposes of
drainage.   The umbilicus was approximated with 2-0 nylon sutures.

The  estimated blood loss was difficult   to obtain.   It was
estimated that the combination of that which he lost in the chest
tube and abdomen was approximately 2000     cc and that during the
o    ative procedure he  lost another   1000  cc.


He ap eared               to tolerate this    procedure     satisfactorily.   He was
re ur  d to               the Shock Trauma    Intensive     Care Unit in critical
con     n.t
     CT    TED      AND   REVIEWED    BY




4JAMS          H.    DUKE   M.D.
SURGE


/92                   J        2694         CL
D         12/22/98                           T   12/28/98




                                            OPERATIVE   REPORT
                          Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 123 of 150

                                                                                6411 Fannin                               No.
             DYNACARE HERMANN                                                                                   Account
                                                    C C
                                                                                                                                    969254909367        1

                                                                      Houston Texas 77030-1501                  Patient             WILFORD           KANE
                                                                                713    704-5227                                     0000096925490
             Laboratory               Services
                                                                                                                Physician           DUKE JAMESH. TRAUMA
                                                                     Case No.      S-98-18078                   Location                J553     00
                                      HH
              Ordering     Location                                     Surg.   Date   12/07/98                 Date of Birth       05/14/1974    Age    24 YRS    Sex   M
              Client    HERMANN        HOSPITAL                         Date Received      12/07/98

               Ordering    Physician DUKE JAMES           H.   TRAUMA
              Copy to      DUKE JAMES H. TRAU


                                                                        SURGICAL                  PATHOLOGY

               CLINICAL INFORMATION

                          Preoperative            diagnosis          Gunshot      wound       to      abdomen   back       chest.


               TISSUE/SOURCE               DESCRIPTION
                          Gallbladder

               GROSS DESCRIPTION
                          The specimen is received in formalinin a container   labeled. with the
                          patients name   Kane Wilford medical record number and designated
                          gallbladder. The specimen consists of a tan-pink gallbladder that measures
                          7.1 x 2.1 x 0.9 cm. The surface of the gallbladder is tan-red and shiny. The
                          gallbladder mucosa is hemorrhagic. The gallbladder  contains approximately                                                     10
                          cc of blood clot. Representative section is submitted in Al.

                          M.    Jalali         M.D./ddr          12/08/98       0905

                          1    block       1   HE

                         MXJDDR

               DIAGNOSIS
                         Gallbladder cholecystectomy
                          Acute hemorrhage.




                         Code     1

                         CPT    88304
                         12/09/98          1305     yf

                         T57000        P11000           M37000

                         RANRANYMF                By      R.ABOUL-NASR  M.D.
                         12/09/98                         Electronic Signature




 Printed    Date/Time            01/01/1999      0551
                                                                                                                                                            Page
                                                                                      FINAL
            Date   12/31/98
Discharge                                                                                                                                                   End of Report


       SURG PATH
             Case 4:14-cv-00403
rmann Hospital                                  Document 55-23 Filed on 04/11/14 in TXSD Page 124 of 150
R.    Charge        Recoru




                                                                                                                 96 92549 0
                                                                                                                 WILFORD
                                                                                                                            9367
                                                                                                                          KANE

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                                                               ýý                                                   Age 24y DOB
                                                                                                                 Visit/Admit Dt
                                                                                                                                          05/14/74
                                                                                                                                          12/07/98




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rmann      Hospital
                   Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 125 of 150
R   Charge       Recora


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                   Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 126 of 150
   RMANN   HOSPITAL                                   MEDICATION               ADMINISTRATION      RECORD

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                          ý2-           q8                                                                 96 92549 0 9367
                                                                                                           WILFORD  KANE
                                                                                                           BM Age 24y DOB                05/04/74
                                                                                                           Visit/Admit Dt                12/07/98



  START
                                      MEDICATION DOSE ROUTE                     FREQUENCY
                                                                                                                       3                 -                    r
           RECONCILE/




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   STOP     INITIALS                                                                                                                           t          I




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                Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 127 of 150
4ERMANN HOSPITAL                                MEDICATION   ADMINISTRATION    RECORD

JAME                                                                                                 -       -




1CCT
                                                                                                                 0 9367
                                                                                               96 92549
                                                                                                       KEVIN
                                                                                               WALTER               05/04/74
                                                                                                           DOB
                                                                                               BM Age 24y   Dt      12/07/9E
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 START   RECONCILE/
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                             Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 128 of 150

iERMANN             HOSPITAL                                                                           MEDICATION                  ADMINISTRATION                RECORD

JAME              11iLFORD   KAHE                                         iC STIC-09                                 -                     GENERATED       12-07-98       1116pR
tCCT              59254905367                                                                                                              FOR   PERIOD    12-08-98       0700
                                                                           T
                                                                                        M

AAA         24uur                                                                       180.34           cm                                THROUGH         12-09-98      0659
I                 hKE    JAMES     H.    T                                             161.98           kc                                 ADUITTED        12-07-98     1222an
                   TRAUMA                                                ESN.               70     M2

ALLERGIES            UNKNOWN      PATIENT       ALLERGIES




                                         91-FREO
DIAGNOSIS            WOUND   OPEN/UHSPEC             COMPL                                                                                                PAGE      I   OF     1




    START




    -Ti3-12-09ýti
                     RECONCILE/
                                                             MEDICATION                           DOSE ROUTE                         FREQUENCY                                 0700-1500                       1501-2300                 2301-0
    STOP               INITIALS


    12-07    07                               CEFOXITIN                                                                               2GM                        401628                                      ORDER       ENDS    12-   9-98   06
                                         BASE       SOLUTION                                                                         50ML                                           4fi
                                                      86                  INFUSE                  8                100   ML/HR

             06                           EEP                 GERAF
                                                                                                                                                                                   0ý                                     rRQ          CAS           Pý1S
                                         FOR    2EFP.IDAYS




    12-07    08                          L.kCTATED           RINGERS                                                             1000ML                          401627
                                         FREE         88H                 INFUSE                  8                140   ML /HP.                                                     OS                           lie                          24



    01-06    07                                                                                                                                                                                                 1500T

    12-07    10                          SUCRALFATE               1GM    SUSP          PO        96H                                                             401629
                                         POTENTIAL            FOR       DRUG-DRUG                  INTER-                                                                            10
                                                                                                                                                                                                                     16q                       04
                                         ACTIONS         SIMULTANEOUS                    ADMIN.                                                                                                                      22

01-06       09                          REFER       TO     POSTED         rECOMENDATIONS
                                        PO/NGT




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                                        FOR    TEMP           38.


91-06       13




2-07        14                                                         650MG           LIO        PO    94HFRIi                                                  404491
                                        TCETAMINOPNEN
                                         EF                                                                                                                                                                   30
                                                38.5 C
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.AL                  NAME         PROFESSIONAL TITLE                                        INITIALS                       NAME             PROFESSIONAL TITLE                     INITIALS              -NAME           PROFESSIONAL TITLE
                             n
                                Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 129 of 150

    MANN HOSPITAL                                                                              MEDICATION                     ADMINISTRATION           RECORD
                 WILFORD    KANE                                         _iC        STIC-09                                       GENERATED      12-08-98          1136pr
      E.
    T69254909367                                                          X         M                                             FOR PERIOD     12-09-98          0700
                                                                         X0T        180.34                cal                     THROUGH        12-10-98          0659
    R             OKE   JAMES    H.    T                                           161.98             kg                          ADMITTED       12-07-98         1222an
    JlLr.         TRAUMA                                                 BSA2.70              N2

    RGIES           UNKNOWN     PATIENT       ALLERGIES


    3HOSIS          WOUND   OPEN/UHSPEC         COMPL                                                                                           PAGE         1    OF




    ART            RECONCILE/
                                                         MEDICATION                           DOSE ROUTE FREQUENCY                                                     0 00-15     Gig         1501-2300          2301-0
    OP               INITIALS

         -77-
                                       FREQ        08H                    INFUSE          8                     140   ML/HR                                              0                                            24




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                                      POTENTIAL          FOR         DRU-DRUG                 INTER-                                                                      10



                        ýý            ACTIONS        SIMULTANEOUS                   ADMIN.                                                                                                       22

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%LS                 NAME        PROFESSIONAL TITLE                                      INI   IAL                      N      E   P       OFE    A   TITLE              INITIALS          NAME        PROFESSIONAL TITLE
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                                  Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 130 of 150
ERMANN HOSPITAL                                                                                   MEDICATION             ADMINISTRATION             RECORD
                WILFORD           KANE       AA                                  MU       SIMU-06                                 GEkRATED       12-23-98
AME                                                                                                                                                                  1105pn
                969254909367                                                              M                                       FOR PERIOD     12-24-98            0700
           24yr                                                             H6T           180.34     em                          THROUGH         12-25-98            0659
                                              T                              T 130.18 kg
     -




Dr              DUKE    JAMES           H.                                                                                       ADMITTED        12-07-98           1222am
           E     TRAUMA                                                     BSA46 M2
ALLERGIES          UNKNOWN             PATIEIIT        ALLERGIES
                   NO   KNOWN           PATIENT          ALLERGIES
DIAGNOSIS          WOUND          OPEN/UNSPEC             COMPL                                                                                 PAGE        1       OF   2




START                                                                                                                                                                    0700-1500               1501-2300              2301-0
                  RECONCILE/
                                                                MEDICATION                    DOSE ROUTE                    FREQUENCY
STOP                INITIALS

     -tn    to

                                             NACL      0.9%                                                              100ML                                                 C8       P.4          16

                                             FREA         08H                INFUSE                  219.64      ML/HR
12-30      ih                                KEEP REFRIGERATED


                          /       1ý




                                         2LLcrREuori___nC02
                          lýl



IL-2z      10                                iffrRcl      01196    L         Jr       Q




                                             $SCC/HR            READY       TO    HANG                                                                                         10                    ow
                                                                   H

01-21      1



     -t                                           Lc                                                 zlx                                               t.       o

                                             BASE      SOLUTION                                                          100ML                                                                       21

                                             FRED         024                INFUSE           8             00   ML/HR
2-30       20                                PROTECT       FROM        LIGHT
                                             DO    NOT    REFRIGEF           TE



                                             Act
                                             FREA
                                             FLOORSTOCK
                                                         X024

                                                                  ITEM
                                                                             INFUSE           8             20   ML/HR
                                                                                                                                                                                                     -
                                                                                                                                                                                                      6             DJý C

oi-22       5
                          ý111I




                                             unErRAZOLE                 L    70SVENSION              20MG    J   J
                                             SHAKE       WELL

                                             KEEP      REFRIGERATED
UL-LL

                        qj
     -z2                                          H                                                                   200   ORG
                                             DEXTROSE       5%     IN       WATER                                        250ML                                                 08                    16    ýj
                                             FRED         08H                INFUSE                       125    ML/HR                                                                                                      46ij
                                                                                                                                                                                                          /.
12-30       r                                KEEP      REFRIGERATED




                                        e JV9
                                                                                                                                                                                                9.z.




                                                                Jy




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                                                                                                                                                                                              joyarc


ALS               NAME             PROFESSIONAL                 TITLE                     INITIALS                   NAME         PROF      SIONAL TITLE                     INITIALS         NAME       PROFESSIONAL   TITLE
IR-Li1E                      Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 131 of 150

RMANN            HOSPITAL                                                        MEDICATION               ADMINISTRATION         RECORD

kM   E     WILFORD           KANE    kit                         IMU     SIMU-06                                 GENERATED     12-24-98      1120pn
-CT                                                              EEX                                             FOR PERIOD    12-25-98      0700
           969254909367                                                  M

GF       .14yy
                                                                   T     180.34       cr                         THROUGH       12-26-98      0659

0k        DUKE         JAMES    H.     T                         iT     136.07       kq                          ADMITTED      12-07-98     1222an

ERUiCE         TRAUMA                                            DS42.51        M2


CLERGIES          UNKNOWN                     ALLERGIES
                  NO            PATIENT        ALLERGIES
                  WOUND      OPENUHSPEC           COMPL                                                                       PAGE          OF   2
IAGNOSIS
                                                                                                                                       1




TART             RECONCILE                            MEDICATION DOSE ROUTE                                FREQUENCY                             0700-150t        1501-2300           2301-0
3TOP              INITIALS



12-16     16                               GENTAHICIH                                                     440MG                      436085
                                      NACL     0.9%                                                       IOOML                                       03
                                                                                                                                                            1d        16                   24

                                      FREE         08H            INFUSE       @      219.64      MLHR
12-30     15                          KEEP     REFRIGERATED




12-10     21                               LEVOFLOXACIH          500M0lOOML           D5k                 500MG                      4476    0
                                      EASE     SOLUTION                                                   100ML                                                       21
                                      FRED         924            INFUSE                    100   ML/HR

12-30     20                          PROTECT       FROM    LICFT

                                      DO    NOT    REFRIGERATE


12-23     16                          IIACL    0.92                                                   I000ML                         463721
                                      FRED         024            INFUSE                     20   ML/HR                                                               16

                                      FLOORSTOCK          ITEM

01-22     15




12-16     19                          OMEPRAZOLE          ORAL     USPENSION          20MG     SUSP   PO    0D                       4374    1
                                                                                                                                                      09
                                      SHAKE       WELL
                                      KEEP     REFRIGERATED

u1-22.1a
                       G

                                                            Li                                                                       4687    4
                                                                                                                                                            qn
          18                          PROMOTE       OBAG           TF    98

                                      FULL     STRENGTH                                                                                                               18                   02

                                      85CC/HR       READY          HANG

01-23     17




12-22     08                               IHHCOMYCIN                                                 2000MG                         456775
                                                                                                                                                                                           24
                                                                 WATER                                    250ML
                                                                                                                                                            ýý
                                                                                                                                                                      16
                                      DEXTROSE        5    IN                                                                                         Of.


                                      FRED         08H            INFUSE       @            125   ML/HR

12-30     07                          KEEP    REFRIGERATE_




                                                                                60                                /z                             DýtU11               1ýi




                               PROFESSIONAL TITLE                                                   NAME          PROFESSIONAL    TITLE                          AM        PRO ESSI   AL TITLE
IALS              NAME                                                        INITIALS
                                                                                                                                                     INITIALS                               1   /7.
                            Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 132 of 150
     o .
RMANN HOSPITAL                                                                                    MEDICATION                 ADMINISTRATION           RECORD

.M                          -


CT
                                                                          .
                                                                          IC STIC-09
                 ILFORD    KANE    kF                                                                                           GENERATED       12-09-98       1103pr.

             969254909367                                                            M                                          FOR   PERIOD    12-10-98       0700

E       .4ur                                                               T         180.34             cm                      THROUGH         12-11-98       0659

       DUKE JAMES H. T                                                            161.98                                        ADMITTED        12-07-98      1222am
 CTOR                                                                                                  ka

 RVICE  TRAUMH                                                            BSA2.70                 M2

.LERGIE    UNKNOWN PATIENT                  ALLERGIES


                                              COMPL                                                                                            PAGE           OF
AGHOSIS           WOUND    OPEN/UNSPEC                                                                                                                    1        1




TART                                                                                                                          FREQUENCY
                  RECONCILEI                        MEDICATION                                 DOSE ROUTE
STOP                INITIALS

                                                                                                                                                                   0700-1501                15000                 2301-0



                                                                                                  ýrj
                                                                                                                                                      4016
2-0      tis                        LACiATEDRING                                                                         1000M1

                                    FRED                                                 E                      0    ML/HR                                              0                         16                  24



r-       n




2_07     10                         SUCRALFATE           1GM              SUSP       PO       06H                                                     401629
                                    POTENTIAL           FOR          DRUO-DRUG                    INTER-                                                                lt                        16                  04

                                    ACTIONS        SIMULTPEOUS                           ADMIN.                                                                                                   22

11-06   Aq                          REFER     TO    POSTER                 7PECOKENDATIONS



                                                                                                       2M
                                    POiNGT

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 ýý-t-47 14
                          1-1
                                   cCETAMINOPHEN
                                   TEMP        38.5
                                                    P    R




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                                                                 N




                                                                     6501G
                                                                            0    R




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                                                                                         D    E    R    S_______




                                                                                                  PG 04HFRN                                            4044.1
                                                                                                                                                                              1




                                   ACETAMINOPHEN                                     SUPP          PR       04HPRN                                    4044.6
                      I            FOR    TEMP           38.



1-06     1
                                                                                                                                                                       oyý                                       j4 tý6
.2-0    II           ýý            LORAZEPAM            2MG                     IV    882-4HPRti                                                      41174
                                    AVOID      ALCOHOL                                                                                                                                lit   3o
                                                                                                                                                                                                            T
                                   GIVE     2MG     TO       4M.          RN
 -16    10

                                                                                                                                                                                                                         QQ




2-           1                     FORPHINE        2MG           INJ        IV       024HPRN                                                          411782                                                         C
                                   GIVE     2MG    TO        IOMG           PRN
                                                                                                                                                                                        ýq    3c R4



ALS                NAME         PROFESSIONAL TITLE                                           INITIAL                   NAME            FESSION         TLE             INITIALS       NAME             PROFESSIONAL TITLE
                    Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 133 of 150
RMANN   HOSPITAL                                 MEDICATION    ADMINISTRATION       RECORD

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CT




TART    RECONCILE/               MEDICATION    DOSE ROUTE FREQUENCY
STOP     INITIALS



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                          ýl                    M         I          oý




ALS      NAME        PROFESSIONAL TITLE       INITIALS        NAME   PROFESSIONAL   TITLE    INITIALS   NAME   PROFESSIONAL   TITLE
                                   Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 134 of 150
 IERMA           N HOSPITAL                                                                                      MEDICATION            ADMINISTRATION             RECORD

 TAME                  LFORT         KAHE                                            IC STIC-09                                             GENERATED       12-10-98       1102pn
 CCT
                                                                                     T-
                       9x9254909367                                                       _X           M                                    FOR   PERIOD    12-11-98       0700
 Apr             24yr                                                                                  180.34           cm                  THROUGH         12-12-98       0659
 T           j         DUKE     JAMES     H.    T                                                  161.98              kg                   ADMITTED        12-07-98      1222an
             CE         TRAUMA                                                       BSA_.70                     M2

 ALLERGIES                UNKNOWN        PATIENT      ALLERGIES


 DIAGNOSIS                IIOUHD     OPENUHSPEC             COMPL                                                                                          PAGE      21   OF   2




     START               RECONCILE/                                   MEDICATION                                 DOSE ROUTE             FREQUENCY                              0700-i500                1501-2300       2301-0
     STOP                     INITIALS




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                                                                                                                        pAtu

                                                                  P    P       H          03       P    D    E    P    S




     12-01       1                             ACETAMINOPHEN                       65UNi               LIC       PO    04HPR11                                    40441
                                               TEMP         38.5           C




                                                                                                                                                                                       CL
     01-06


                                                                                                                                                                               133
     i2-07       14                            ACETANIHOPHEN                       t-MG                SUPP       PR        04HPRN                                4044    6
                                               FOR    TEMP             38..F



     01-06       13




     12-10       i2l                           IBUPROFEN               400                SUSP              PO   614                                              4164    3
                                               Take                    Foo
                                                                                                                                                                                                  L
                                                        w    I   th

                                               ALTERNATE              WITH          YLEHOL                                                                                         C          C




                                               LORAZEPAM              2MG          I1IJ        I        92-4HPRN                                                  411747
                                               AVOID        ALCOHOL
                                               61VE    2MG        TO    4M_
                                   v
                                                                                          PN

     12-16       iU




     12-09       1i                            MORPHINE          2MG           IHJ        iJ           02-       PRN                                              41I72
                                               GIVE    2MG       TO        IOMG           PRN               io

                 it




ITIALS                    NAME           PROFESSIONAL                 TITLE                                 INITIALS                 NAME    PROFESSIONAL TITLE                    INITIALS           NAME   PROFESSIONAL   TITLE


                                                                           6ý                                                                 1                    N
KýLQC                      Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 135 of 150

RMANN         HOSPITAL                                                             MEDICATION             ADMINISTRATION           RECORD

ME       VILFORD           KANE    kA                -          TIC       STIC-09                            GENERATED       12-10-98      102pp
                                                                    EX                                       FOR   PERIOD    12-11-98      0700
CT       969254909367                                                     M

                                                                H.T        180.34      cm                    THROUGH         12-12-98      0659
iE.      lr
IC       DUKE      JAMES      H.    T                               T     161.98      kg
                                                                                                             ADMITTED        12-07-98     1222am

RVL          TRAUMA                                             DSA2.70          M2

.LERGIE        UNKNOWN       PATIENT        ALLERGIES


                                              COMPL                                                                         PAGE      1   OF   2
AGNOSIS        WOUND       OPEN/UNSPEC




TART          RECONCILE/                            MEDICATION DOSE ROUTE                                 FREQUENCY                            0700-1500       1501-2300             2301-0
TOP             INITIALS

                                    DEXTROSE        5%-NACL          0.45-KCL          20MEA          1000ML                        4162171
        16
                                                                                                    MAR
                ný                                                         H
                                    FRE9       Q8H                  NFUSE                     125                                                   nE               1                    24


                1ýv
11-09   15




                                                                                                                                    417423
                                   ýHR
2-10    13                          PROMOTE        OBAG    LIB       TF   98
                                                                                                                                                                     18                   02
                                                   READY       TO    HANG                                                                           It


                                    FULL     STRENGTH

11-09   17




12-07   10                          SUCRALFATE           1GM    SUSP      PO    96H                                                 40169
                                                                                                                                                                     6---                 04
                                    POTENTIAL        FOR       DRUG-DRUG         INTER-

                                    RCTIOHS        SIMULTANEOUS               ADMIN.

1-06    09                          REFER     TO    POSTED          P.ECOMENDAT        IONS

                                    POiNGT




                                                                                                     NAME      PROFESSIONAL TITLE                             NAME        PROFESSIONAL   TITLE
ALS             NAME         PROFESSIONAL TITLE                                INITIALS                                                            INITIALS
                       Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 136 of 150
                                                       MEDICATION   ADMINISTRATION   RECORD
.MAN HOSPITAL

IE

ýT
      _            96 92549 0 9367
                 WILFORD KANE
                 BM Age 24y DOB                05/04/74
                 Visit/Admit           Dt      12/07/98
                                                                                              lýfAýý       ýG


                                    MEDICATION DOSE ROUTE FREQUENCY
ART       RECONCILE/
           INITIALS
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\LS         NAME       PROF   SIONAL TITLE        IN     LS     AME      P   ESSIONAL TITLE     INITIALS    NAME    PROFESSIONAL TITLE
                              Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 137 of 150

 MANN HOSPITAL                                                                                                      MEDICATION                                    ADMINISTRATION              RECORD

                                                                                                                                                                        GEHEzWTED       12-12-98               1209am
AE.     11LFORD          KAhE       AA                                            P1U                 3111101-06



T                                                                                                                                                                       FOR   PERIOD    12-12-98               0700
        969254905367

       cl                                                                             T               180.34                 cr                                         THROUGH         12-13-98               0659
                                                                                                                                                                        ADKiTTED        12-07-98              1222ar
        LUKE       JANc        H.                                                             161.98                        kQ

            TRAUIR                                                            YSA.2.7I                              N2
V.
.ERGIE        UNKNOWN         PATIENT          ALLERGIES

              HO   KNOWN       PAT
                                     T
                                                   ALLERGIES

 6NOSIS       WOUND      OPENC COMPL                                                                                                                                                   PAGE              1    OF




                                                                                                                                                                                                                        0700-150U        1501-2300        2301-0
-ART         RECONCILE/                                     MEDICATION                                              DOSERROUTE                                     FREQUENCY
TOP            INITIALS




                                                                                              ýt-Pzý
                                     DEXTROSE                   %       NA-           V       45       i.
                                                                                                            -   ML
                                                                                                                 4           2                h               1
                                                                                                                                                                    1

                                                                                                                                                                                               t.   1        LJ.I                                                       I




                                     FRED               08H                           HFUSE                                               125          ML /HR                                                                -wt




                                                                                                                                                                                                                                 Z171




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                                                            P       R    H            0       R         D       E       R    S




                                     HCt            1                        bWil                     kl            PC       i       4-o              Et                                       l42s
                                     TEf4P         101



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 -11                                 ACET01NOPHEN                                 .       6           SUI       P                    Q4-6flFRN                                                 i




                                     TEMP101
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                                     FOR       11111101         IA




                                     c4    I
                                                                                              wJ/JVU                        i7        I                R.I.             0HPRN
                                          -         TABLETS                  AS
                                               2                                      IEEDED




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 ý     23                            iUttrN             t       1
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                                     FOR       NAUSEA               AND       A-MITIIHG
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                   W
                              PROFES                                                                                                                       NAME           PROFESSIONAL TITLE                                            NAME    PROFESSIONAL    TITLE
\LS            NAME                             IONAL TITLE                                                 INITIALS                                                                                                         INITIALS
                           Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 138 of 150

    MANN     HOSPITAL                                     MEDICATION   ADMINISTRATION     RECORD

    It


          ý96        92549 0 9367
           WILFORD              KANE
           BM Age 24y DOB                   05/14/74             /
                                                                                   U
                                                                       f




           Visit/Admit Dt                   12/07/98




    ART      RECONCILE/                   MEDICATION     DOSE ROUTE FREQUENCY
 FOP            INITIALS




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                                                                                                   I   S            .     830     AT.




ALS           NAME         PROFESSIONAL   TITLE        INIT14S         ME   P   FESSIONAL TITLE        INITIA   S       NAM     PROFESSI   N   L TITLE




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 TRcE L                        Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 139 of 150
  RIVANN HOSPITAL                                                                   MEDICATION                    ADMINISTRATION              RECORD

 aME
                                                                    IC STIC-19
 CT        W1LFORD          KANE                                                                                       GENERATED        12-12-98         iI11pR

                                                                    T
           969254909367                                             jX    M                                            FOR PERIOD       12-13-98         0700
 GF                                                                       180.34       cry                             THROUGH          12-14-98         0659
          tyr

 OL        IiUK.E      JAMES     H.   tT                                 130.18       kg                               ADMITTED         12-07-98        1222am
 ERV1CE   TRAUMA                                                ESA2.46          M2

 LLERGIES   UNKNOWN             PATIENT      ALLERGIES

                NO    KNOWN      PATIENT       ALLERGIES

 IAGHOSIS       WOUND       OPENIUHSPEC          COMPL                                                                                 PAGE         1   OF   2




 START          RECONCILE/
                                                          MEDICATION DOSE ROUTE                                    FREQUENCY
 STOP               INITIALS                                                                                                                                 0700-i50t-             11501-2300           230i-0


 12-12    16                              l. TfeO8E
                                       _EIV               5 -NAt         9     KC     2ONED-                 I00GNIL                           423064
                                                                               N                                                                                                                    J
                                                                                                                                                             d7
                                      FRED        08H                NFUSSE                        125   ML/ HR                                                   6Er                    16                    24


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 01-11    15                                                                           N.


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                                           GRAL                FATE                        1
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                     Ri                               LID            PPhJ




                                      C    Mot vL                       3DrY                        IV      NOrl                                                 164b       u
                     Rs
                                                          MXY           RPT           X        I                                                                 1045 P-z



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                                      IJS             I   L     1
                                                                    V    ýDLUý                            X        T         SID P%j                         143r           t2T




rIALS           NAME            PROFESSIONAL TITLE                            INITIALS                    NAME         PROFESSIONAL           TITLE              INITIALS         NAME        PROFESSIONAL   TITLE


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                            ý              ý                                   rZ1                 REýIFýý             ZAtzv1-5P                J
  IPSLL                                 Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 140 of 150
  ERMXNN HOSPITAL                                                                                                    MEDICATION                ADMINISTRATION                RECORD

  AME
  CCT
  If            4r
                          1111pr-06925490936
                          IILFORD        KANE    r                                          .-I
                                                                                            2 EX

                                                                                            -.T
                                                                                                       STIC-19

                                                                                                       M

                                                                                                        180.34                cm
                                                                                                                                                    GENERATE3

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                                                                                                                                                    THROUGH
                                                                                                                                                             PERIOD
                                                                                                                                                                         12-12-98

                                                                                                                                                                         12-13-98
                                                                                                                                                                         12-14-98
                                                                                                                                                                                         0700
                                                                                                                                                                                         0659
  iG.                     iUKE        JAMES-H.        T                                              130.18               kg                        ADMITTED             12-07-98       1222am
  iERVICE                  TRAUMA                                                           BSA2.46                  M2

  ILLERGIES                  UNKNOWN          PATIENT         ALLERGIES

                             NO       KNOWN    PATIENT         ALLERGIES

  IAGHOSIS                   WOUND       OPENUNSPEC             COMPL                                                                                                 PAGE          2   OF




  START                     RECONCILE/
                                                                         MEDICATION                                 DOSE ROUTE FREQUENCY
   STOP                          INITIALS                                                                                                                                                    0700-150                   1501-2300          2301-0


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                                                 M GIN                                                               Iv                                                                      1634               IzJ

                                  Rs                                      12P                              X                                                                                 0315                Pa
                                                                            a-A TJ                               40                1160                                                                  DO     PIT


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                                                 RbCLJ g0N 11                                          M                       150        mg         i   V                tJdYýl                                1ZJ




                                                 Art VAN

                                                  ___                P    R        N          0
                                                                                                4-Mg
                                                                                                   R       D    E    R    S         V     X              N to w                              1a          S g

  i2-12              10                           ACE-AMINOPHEN                        650MG           SUPP          PR       04HPRN                                           422840
                                                  TEMP101


                                                                                                                                                         P/ G
                                                          PR

  oý     .U

  12-12              1C                           ACETANIHOPHEN                        ci.MG           TAB                04HPRN                                               4228     9
                                                          101


  01-1i          09




  12-11          23                               HYDROCODONE                 W/        FeP       5MG/500MG                    1TAB     TAB   PO   03HPR4                      422239
                                                  1   -   2    TABLETS                 4c    NEEDED


  12-19          22




  12-12          10                               LOR     ZEPAM          2MG           INJ      IV      02-4HPRH                                                               4228     6            D3p        J23    193

                                                 FOr..    AGITATION                                                                                                                                                      J S

  ALCOHOL.-12-19 09
                                                  AVOID




 12-11          23                               MORPHINE            211E      INJ           IV        02-4HPRN                                                                422238        I                  JZJ    1934
                                                 AGITATION


 12-19
          22-12-12




                 11                              PROMETHAZINE                  12.000M6                        INJ       IV    94-6HPRN                                        423066            1       D 3C   127
                                                 FOR      NAUSEA         AND           MITING

 01-11           10




 12-12          11                               TEMAZEPAM               15MG               P     PU       PRN                                                                 423065
                                                 15-30MG
                                                 FOR      INSOMNIA
 1.             10




ITIALS                       NAME             PROFESSIONAL TITLE                                               INITIALS                   NAME       PROFESSIONAL TITLE                      INITIALS                 NAME     PROFESSIONAL TITLE


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                                  1
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                                                                            z                                    R                 Rý j             7A       a   .- 15     s    J
                                  Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 141 of 150
    TMANN             HOSPITAL                                                                MEDICATION               ADMINISTRATION          RECORD

                                                                     1C STIC-19
                                                                     .T
    1E           UILFOPD      KANE       n                                                                                     GENERATED     12-13-98.         i056pr
                                                                                                                           -
                 969254909367                                                       M                                          FOR PERIOD    12-14-98          000
    ET            r                                                                  180.34         cm                         THROUGH       12-15-98          0659
    C             UKE      JAMES    H.   T                                     130.18              kg                          ADMITTED      12-0r-98      1   2 22an
                  TRAUMA                                             ESA 2.46                 M2

    LERGIES           UNKNOWN      PATIENT      ALLERGIES

                      NO   KNOWN    PATIENT      ALLERGIES

    AGNOSIS           WOUND   OPEN/UNSPEC          COMPL                                                                                    PAGE       1   OF      2




    LA RT             RECONCILE/
                                                         MEDICATION                          DOSE ROUTE                    FREQUENCY                               0700-1500                  15 U1-2300           230   i-U
    TOP                INITIALS


    2-12    16                           DEXT                    .           V.4
                                                                                         -                                                         423064
                                                                                                                                                                        -k-
                                                                                   lq.

                                                                                                                                                                                        1          14r                   24


    1-11    1E                                                                                                   //S                                               133p           fL7




    2-13    10                           SUCRALFATE        1GN    SUSP             iiG       96H                                                   14245       6
                                         POTENTIAL       FOR     DRUG--DRUG                   INTER-                                                                     10   R1..                 16    IzS             04
                                         ACTIONS                                         ADMIN.                                                                                                    2ý_                        A
    1-1-20
         9                               REFER TO SOSTEDhPECU
                                                   POSTEI. tCOMENDATIONS




                                      -Z1FRAI\                                S m9                           V MA/  REPEAT
    Iý-
                                                                                                         I




                        RJ                      Q 15                 1   F                0             RFLIEF   TD MAY OF
                                              32-r                                                       P0.kJ   N/V
                                                         no




_   14 4
                                     -ni t      P        Z.1     N       r                26-1                     I   V       a           P RiJ
                        R J                          t               Ps



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                                                                                                             IV        o.-tg
                  JIN
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ALS                   NAME        PROFESSIONAL TITLE                                     INITIALS                 NAME         PROFESSIONAL    TITLE                                                PROFESSIONAL
                                                                                                                                                                       INITIALS             NAME                     TITLE



                                    j         Gl                                           23            RENEE                 -JA 12V 15          -J
                                       Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 142 of 150
 IERMANN                     HOSPITAL                                                                         MEDICATION                 ADMINISTRATION             RECORD

 JAME                    UILFORD KANE              AA                                  -1       ST IC-19                                       GENEIATED          12-13-98           1056pr
                -
 kCCT                    4025490936                                                  EX         H                                              FOR   PERIOD       12-14-98           0700
 AGE            24yr                                                               i.T          180          34        cm                      THROUGH            12-15-98           0659
                24yr
 T-         P.                      JAMES     H.    T                                  30.18 kg                                                ADMITTED           12-07-98          1222an
                E            TRAUMA                                                BSr2.46 M2
 ALLERGIES                     UNKNOWN       PATIENT      ALLERGIE
                               NO    KNOWN    PATIENT        ALLERGIES

 DIAGNOSIS                     WOUND      OPEN   UHSPEC       COMPL                                                                                              PAGE           2   OF




  START                       RECONCILE/                          MEDICATION DOSE ROUTE                                                   FREQUENCY                                      0700-1500                         1501-2300           2301-0
  STOP                          INITIALS




                                                                  P       R    H       3    R       D    E     R       S




            1        2j                            HYDROCODOHE                W/APAP        511G/500M6                      1TAP   TAD   PO   b_HPRN                     4222       9
                                                         2   TABLETS               r   HEEDED


                                    V 1
   12-19             22




   is-la             ý
                     1.1                            IBUPROFEN
                                                   Taie      with
                                                                          10MG
                                                                          Food
                                                                                       SUSP             HG     61IDPRN                                                   4125380
                                                                                                                                                                                                                       t   5 3L      ý
                                    vS
  01-12              I


  12-12                                            LORAZEPAM          _                                                            Z-9                                   4228       6
                                                                                                                                                                                         09             R7                                     a3
                                                                                                                                                                                                                       Iý1
                     1
                                                                                                                                                       j




                                                                                                                                   Q2 -4
                                                   FOR   AGITATION
                                                   .AVOI ALCOHOL                                                                                       pp_JJ
                                ý.ý                                                                                                                                                      1
   12 -19           iI   9

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  1   2-i   1
                    __                             MORPHINE
                                                   AGITATION
                                                                -214                                         WRIZý

                                                                                                                                   L -10       f           Jý/
                                                                                                                                                                         422218
                                                                                                                                                                                         ý3G5 L7
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                                                                                                                                                                                                                             Ctoý
                                                                                                                                                                                                                                     i27       ýjj       Ib




  12-19             22                                                                                                             Q2-4                PAJ                                                                                 Q    CKX




  2-i2              i1                             FUNETHAZINE                 12.506f                  INJ        I        04-6HFRN                                     4230       6
                                                   FOE   NAUSEA           AND      VOI T IHG                                                                                             r2esZ

                                VJ
  01-1i             1


  12-12             1                              TEi1RZEPAM         15MG         CA PO                PRE                                                              .423       5
                                                   15-0MO
                                    Jý             FOR   INSOMNIA
            9       10




ITIALS                         NAME        PROFESSIONAL               TITLE                             INITIALS                    NAME        PROFESSIONAL            TITLE                INITIALS             NAME           PROFESSIONAL    TITLE


                                                                                                                                                                                                             IA   in   p    19   1
     10
       --CT
     ERMANN

     4ME

     IGE

     3Ei.


     LLERGIES


     IAIHOSIS
                24yr

                1
                     LUKE
                          HOSPITAL


                      iLFORD
                      9692549U93o




                         TRAUMA


                           NO
                                      Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 143 of 150




                                  JAMES


                               UNKNOWN


                           WOUND
                                  KNOWN
                                          KAE



                                             H.
                                                  R




                                            PATIENT
                                             PATIENT
                                                    iT




                                          OPENiUIISPEC
                                                                   ALLERGIES
                                                                    ALLERGIES
                                                                     COMPL
                                                                                           -
                                                                                               IC STIC-19
                                                                                               T
                                                                                                X


                                                                                           DS.q2.46
                                                                                                       M

                                                                                                       180.34

                                                                                                      130.18
                                                                                                               M2
                                                                                                                 MEDICATION




                                                                                                                      cm

                                                                                                                     kg
                                                                                                                                            ADMINISTRATION

                                                                                                                                                  GENERATE
                                                                                                                                                  FOR PERIOD

                                                                                                                                                  THROUGH
                                                                                                                                                  ADMITTED
                                                                                                                                                                     RECORD

                                                                                                                                                                   12-14-98
                                                                                                                                                                   I2-15-98
                                                                                                                                                                   12-16-93
                                                                                                                                                                   12-07-98




                                                                                                                                                                  PAGE        1
                                                                                                                                                                                       1059pm
                                                                                                                                                                                       0700
                                                                                                                                                                                       0659
                                                                                                                                                                                   1222an




                                                                                                                                                                                   OF       2




 START                    RECONCILE
                                                                          MEDICATION DOSE ROUTE                                              FREQUENCY                                      0700-1500          1501-2300           2301-0
     STOP                      INITIALS


      12-12         16                              DEXTROS                                     0.45%-KCL             20NEG             10                               14230         4
                                                    FP                dSH                        FUSE        0                 F                                                                      08                               4
     ttl-li         15




     12-IS          IU                              SUCRALFATE                   113111   SUP         11G    66H                                                         4.45          6
                                                    POTENTIAL               FOR           DRUG-DRUG           INTER-                                                                                               16                  04
                                                                                                                                                                                                      10f
                                                    ACTIONS              S1gULTr                OUS    ADMIN.                                                                                                      22

     01-12          09                              REFER           TO    POSTED               .ECOMENDATION




                                                                                                              ShvVr
                                                                                                                                                                                  -4



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                                                  ýlG                                            Qb 9                                  IV          QLQ               9-
                                                                                                                                                                                   X                        X                oer

LI S                       j                      I. r.J              JV l.1               I
                                                                                                L.4          lk      J                                                                 7
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TIALS                      NAME            PROFESSIONAL TITLE                                              INITIALS                    NAME       PROFESSIONAL       TITLE                      INITIALS    NAME    PROFESSIONAL    TITLE




                                                      .....   ..
                                                                   AA        11A.Yov
                                                                                                              ý                s                   1-1
                                   Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 144 of 150
ERMANN HOSPITAL                                                                                                MEDICATION              ADMINISTRATION                RECORD

AM E                iILFORD        KANE    t                                             C STIC-19                                            GEHEiATE_        12-14-98  1059pm
CCT                 969254909367                                                                                                              FOR    PERIOD    12-15-98  0700
AGE.       24vr                                                                     cT           180.34                  cm                   THROUGH          l2-16-98  0659
DI        I DUKE JAMES                H.    T                                                   130.18               ka                       ADMITTED         12-07-98 12.22p
I.         E TRAUMA                                                                BSA 2.46                    Pit


4LLciGIES              UNKNOWN       PATIENT          ALLERGIES
                       NO   KNOWN     PATIENT          ALLERGIES
DIAGNOSIS              WOUND       OPEN/UNSPEC          COMPL                                                                                                 PAGE        2   OF    21




START                 RECONCILE/
                                                             MEDICATION                                DOSE ROUTE                          FREQUENCY                                0700-1500              1501-2306              2301-6
 STOP                   INITIALS




                                                             P       R    N          0      R    D     E       R     S




12-14          15                          CHLORPROMAZINE                      25M0             NJ         I         06HPRN                                          4296     5           gp   R
                                           AVOID        ALCOHOL.                                                                                                                     It


01-13          14




12-il      23                              HYDROCODOHE                   WAPAP                                            TAB   TAB
                                                                                         FPi6/500MG                                   PO    93HPRN                    422219
                                                  2    TABLETS                AS    Ni-EDED



12-19      22




                                                                                                                                                                                                                 A_
1
                                                                                                                                                                                                             A


                                           IBUPROFEN              2001.
           i2                                                                       SUSP          NO           QIDPRK                                                425330
                                           Tay e with            Food

1-12       11




i2-i2      10                              LORAZEFAM         2MG                        I       Q2-4HPRH                                                             4228     6
                                           FOP   AGITATION
                                                                                                                                                                                  430clo-1                  OT-                 0531
                                           0011
                                                                                                                                                                                                        ý cý L
                                                       ALCOHOL
 2-        09                              MAY   GIVE     2-4MG
                                                                                                                                                                                                   r


                                                                                                                                                                                                   1
                                                                                                                                                                                                                        1




 2-14      13                             c10RPHINE       FIG            NJ         11      G2-4HPF.h                                                                1.4290   9
                                                                                                                                                                                    fa ýM              16-30
                                          MAY    GIVE     2-10MG
                                                                                                                                                                                                                                0530

                                                                                                                                                                              11 Qý ý ýr                                    J

     -4   14                              OHDA NSETRON               8MG       IHJ          IV       A6HPRN                                                      4290         6
                                          MAY    REPEAT          915MIN              IF         NO
                                          RESULTS       TO       A       MAX       OF       32MG
1-13      13




                                          PROMETHAZINE                   1         .00M          INJ           IV        84-6HPRN                                4230         6
                                          FOR    NAUSEA          AND         VOMITING


     -1


-12       11                              TEMAZEPAM          1511              -P       PO       PIN                                                             4230         5
                                          15-30MG
                                          FOR    INSOMNIA




 _S                  NAME          PROFESSIONAL TITLE                                                                           NAME         PROFESSIONAL TITLE
                                                                                                INITIALS                                                                            INITIALS           M         R    FESSIONAL TITLE



                                                                                                                          \j                                                                   L
                             Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 145 of 150
      RMANN HOSPITAL                                                                  MEDICATION                ADMINISTRATION          RECORD

  kME           IIILFOPD     KANE       A                                     ST IC-19                               GENERATED       12-15-98      1102pFý

      CT        969254909367                                              .   M                                      FOR   PERIOD    12-16-98      0700
  GE       24    r
                                                                      -
                                                                          1   180.34         cý                      THROUGH         1%-17-98      0659
  r             DUKE      JAMES    H.   Or                                    130.18       kq                        ADMITTED        12-07-98     1222am
  E.             TRAUMA                                               ESr.46          K2

  LLERGIES            UNKNOWN     PATIENT      ALLERGIES
                     NG   KNOWN    PATIENT      ALLERGIES
  IAGHOSIS           WOJHD   OPEN%UHSPEC          COMPL                                                                             PAGE      1   OF   2




  201-14
  TART               RECONCILE/                        MEDICATION                   DOSE ROUTE                  FREQUENCY                              0700-1501            1501-2300        2301-0
  STOP                INITIALS


                                             CEFEPIME                                                                                      4305    2
                                 LY NACL 0.9%
  12-14     24                                                                                                   1GM



                                        FREE       OSH                    INFUSE    H             100   ML/HR
                                                                                                                50ML
                                                                                                                                                             080              16
                                                                                                                                                                                   fti           24



  12-21     23                          KEEP    REFRIGERATE
                                        PROTECT     FROM       LIGHT



  12-15    08                           IACL    0.9.                                                        1000ML                         4312    0
                                        FFFA      88H                     LFUSE     @             .2 L/HR                                                                     .4

           07




                                                                                                                 ý
  12-13    10                           SUCRALFATE         1GM        SUS     NG    Q6H                                                    4245116
                                        POTENTIAL        FOR         DRUG-lwUG       INTER-                                                                  10               16ýý
                                        ACTIONS     SIMULTANEýiIS                 ADMIN.
  01-12    09                           REFER TO       POSTE.ECNIENDATIDNS




  -16
           70




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                                               .so
                                                                     OS m                                                                              z3a        12
                                        tý             c             er 2-f                        x 3ýýy/s

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                                                 O h                                                      rytc-ý-_tiý
                                                                 P




TIALS                            PROFESS/        NAL TITL                         INITIALS               NAME          PROF SSIONAL TITLE                  INITIALS    NA      P         IONAL TITLE
                     NAM

                                                                                    kr rA-N 1-ý                             ý/ -A A.L
                                        Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 146 of 150
    ERMANN HOSPITAL                                                                                                 MEDICATION             ADMINISTRATION        RECORD

    4ME                 1ILFORD         KA1E    Ai                                          IC       STIC-19                                     GEHE4ATED     i2-15-98        ii02pr
    -CT                 96925490936                                                                                                              FOP PE.IOD    12-16-98        0700
    GF-         24tir                                                                                180.34               cr.                    THROUGH       12-17-98        0659
                        DUKE    JAPES      H.       T                                               130.18                k                      ADMITTED      12-07-98       1222an
    L                    TP.AUiA                                                      ESA 246                       Fit


         LEPGiES           UNKNOWN        PATIENT          ALLERGIES
                           NO   KNOWN      PATIENT            ALLERGIES

    IAGHOSIS               WOUND        OPEHUNSPEC             COMPL                                                                                          PAGE        2   OF




    START                 RECONCILE/
                                                                   MEDICATION                                   DOSE ROUTE                  FREQUENCY                              070000-1500             501-2300          2301-0
    STOP                    INITIALS




                                                                      P   R     N          O    R     D         E   R     S




    12-14        15                              CHLORPROMAZINE                      256            INJ             IM 06HPRH                                         4296    5

                                                 AVOID           ALCOHOL


    01-13        14




    12-11       2                               HYDROCGDONE                   WigP              5MGi5OOMG                     ITAi   TAD   PO   Q3HPRh               42229
                                                      -   2   TABLETS
                                                1                                          NEEDED


    12-19       22




                                                iBUPKOFEN                 200               usr                     IIDFKN                                           42       0
                                                                                                                                                                                   Ioo
                                                                                                          Iii

                                                Take                                                                                                                                          1nýý          ov
                                                              with        Foot.                                                                                                                       Z

01-12           11




    .      12   1i                                  OtirZEPAM         2MG           i11J             1.12-4NPk6                                                      4228     6


                                                                                                                                                                                                                      o
                                                                                                                                                                                                      115
                                                FOR       AGITATION
                                                                                                                                                                                     l




                                                                                                                                                                                         ý
                                ý   n           AVOID          ALCOHOL                                                                                                                   n ýJ
2-21            0                               MIAY      GIVE     2-4MG
                                                                                                                                                                                                                           4


2-14            13                              fORPHINE           2116        INJ         P.       O2-4HPRU                                                         4.90                                             V-
                                                                                                                                                                              7ýI3p       4   Pý--    3liid
                                                1AY       61VE     2-10M.3
                                                                                                                                                                                                                           GoZoý

                                                                                                                                                                                                     2-1




12-14           14                              ONDANSETRON                   8M           NJ       IV      06HPRN                                                   4290     6
                                                MAY       REPEAT          015               I   F    NO
                                                RESULTS          TO       A   MAX          OF       32MG
                    _
         - i3
9   1




12-12                                           PP.OMETHAZIHE                 i.-OOMU IFIJ                           IV       84-6HPRH                               4230.6
                                                FOR       NAUSEA          AND     MITING


1-11            10




          12    11                              EPIFZEPAM             i5MG          CA                   PRH                                                         4230     .
                                                i5-DUNG
                                                FOR       INSOMNIA




    aL                      AME           ROFESSIONAL                     TLE                         INITIALS                        NAME       PROFESSIONAL   TITLE              INITIALS          NAME     PROFESSIONAL     TITLE
K-a                         Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 147 of 150
RMANN HOSPITAL                                                                     MEDICATION                 ADMINISTRATION            RECORD

VIE-

T           WILFORD        KANE     k                           IC       STIC-19                                      GENERATED       12-16-98      1109pf
            469254909367                                            k    M                                            FOR   PERIOD    12-17-98      0700
E       vr                                                      -T       180.34          cm                           THROUGH         12-18-98      0659
C.          bUKE    JAMES     H.    T                                   130.18          kg                            ADMITTED        12-07-98     1222aP
R6.._ TRAUt9A                                                 DSP.2. 46            M2

LERGIES UNKNOWN              PATIENT       ALLERGIES
               NO   KNOWN     PATIENT       ALLERGIES
AGNOSIS        WOUND       OPEN/UNSPEC       COMPL                                                                                   PAGE      1   OF   2




ART           RECONCILE/
                                                    MEDICATION DOSE ROUTE                                      FREQUENCY
TOP             INITIALS                                                                                                                                8700-15OG       1581-2300               23Ui-8

2-i4   24                               CEFEPIME                                                                IGM                         4305C2
                                   NACL    0.98                                                                5UML                                         08               1                      24
                                   FP.E6       9$H              .NFUS          8               100    MLHP.
2-21   2            Mj             VEEP    REFRIGERATED

                    /J             PROTECT      FROM        LIGHT


2-10   16                               GENTAMICIN                                                            440MG                         4360i5               3
                                   t1ACL   0.9                                                                100ML                                         08              -16                     24
                                   FRE9        98H             _NFUSE          8        219.64        ML/HR
2-23   15


                                                                                                                                                        r Gee.
2-1e   12                               MAGNESIUM      SULFATE          50%     .56/I                          65ME9                        435358
                                   t%ACL   0.9%                                                               250ML                                         12

                                   FRE9       924              INFUSE          E             10.42    ML/HR
2-19   11             Lk                             CONTINUOUS              INFUSION          OVER    24HRS
                                   TO3RUNYAS



2-15   88                          NACL    0.9%                                                           IOOOML                            4312   0




                                                                                                                                                                            cl6ý
                                   FREQ       08H              I111FSE         E               125    .L/H                                                                                          4
1-13   07




                                                      ORAL     .USPENSIO                200MO    SUSP     PO    9D                          4374   1
                                   SHAKE     WELL


I-15   18




                                        iýýý1           o           c   oý                            o                I    D

 17 til
                                                                    r\-                                                     vt




              NAME         PROFESSIONA              TITLE                 INITIALS                    NAME           PROFESSIONAL      TITLE            INITIALS     NAME        PROFESSIONAL   TITLE



                                                                                                 44
                              Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 148 of 150

RMANN HOSPITAL                                                                                             MEDICATION                  ADMINISTRATION          RECORD

ME             UILFOPDi       KANE                                           --IC STIC-19                                                    GENERATED       12-16-95      1109pp
CT             9669254909367                                                      ..         N                                               FOR   PERIOD    12-17-98      0700
E.-
      ýyr                                                                      F1T           180.34                  cA                      THROUGH         2-18-98       0659
l      DUKE            JAMES        H.       T                                              130.18                  kg                       ADH1TTED        12-07-98     1222am
R ...           TRAUMA                                                         BSh_.46                     11




.LERGIE           UNKNOWN          PATIENT         ALLERGIES
                  NO   KNOWN        PATIENT           ALLERGIES
AGHOSIS           WOUND       OPEN/UNSPEC              COMPL                                                                                                PAGE      2   OF   2




TART             RECONCILE/                                   MEDICATION                               DOSE ROUTE FREQUENCY
TOP                INITIALS                                                                                                                                                    0700-1500              501-2300           2301-0




                                                              P    R     N         0    R        D    E         R   S




2-i4       15                            IHLORPROMAZINE                       25r1G          1HJ           IM       Ci6HPRH                                        4296   5
                                         .AVOI ALCOHOL


1-13      14




2-11      23                             HYDROCODOHE                   W      F    P    515/500MG                         1TAB   TAB   PO   93HPR1i                42229
                                              -
                                         1        2   TABLETS                      NEEDED


2-19      22
                             JýJ
                         /



2-A_      i2                             IBUPROFEN                 200115          SUSP              NO         AILPRN                                             42530
                                         Take         with         Foo4.                                                                                                       41

1-12      1i




2-12      10                             L   ORrZEFAM             2115       INJ       IV     82-4HPR1                                                             422846                                              v o
                                         FOR      AGITATION
                                         AVOID         ALCOHOL
2-21.     09                             lAY      GIVE       2-4115




    -i4   i3                             MORPHINE            2MG         INJ       7.       c2-4HFRIi                                                              4290   9.
                                                                                                                                                                                     .        ý   /t 1 ýa      k       DoIo         o   t
                                                                                                                                                                                                                                        C
                                         MAY      GIVE       2-10115                                                                                                        ý..3.



22- 21    12




2-14      14                             ONDANSETRON                   0          NJ        IV        96HPRN                                                       4290   6
                                         MAY      REPEAT           9151                IF    NO
                                         RESULTS         TO        A     MAX       OF       33214G


1-13      13




2-12
                                         423066-FOR
                                         PROP-00115
                                                  NAUSEA           AND             MITINS
                                                                                                     INJ        IV       04-6HPPH




1-11      10




2-12      11                             ýEFIAZEPAM           15MG           CAP        PU       PR1                                                               .4230i
                                         15-30MG
                                         FOR      INSOMNIA




-S                NAME         PROFESSIONAL TITLE                                                INITIALS                         NAME       PROFESSIONAL TITLE                    INITIALS       NAME                 AL TI   LE
                                                                                                                                                                                                            PROFESS/
          All
                                                         I




                                                                                                                                                                                                             ASIA J
      lltý    ý                 Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 149 of 150
  RMANN              HOSPITAL                                                                      MEDICATION              ADMINISTRATION          RECORD

  ýME              LFORb          KAHE                                             IC   STIC-19                                    GENERATED     12-17-98      135pr
  CT               96925490936                                                                                                     FOR PERIOD    12-18-98      0700
  GE     -ý24SSýr                                                                  T     180.34      cn                            THROUGH       12-19-98      0659
  C-               DUKE     JAMES     H.   T                                  T         130.18      kg                             ADh1ITTED     12-07-98     1222am
  E..               TRAUMA                                                1   S2.46            N2

  LLERGIES            UNKNOWN        PATIENT         ALLERGIES
                      NO    KNOWN     PATIENT             ALLERGIES

      IAGNOSIS        WOUND      OPEN/UNSPEC               COMPL                                                                                PAGE          OF




  START              RECONCILE/
                                                                MEDICATION                     DOSE ROUTE                       FREQUENCY                          17 00-1500     501t-2300
                                                                                                                                                                                    U                        23   1   i   -U
  STOP                    INITIALS


  12-17       _                                 AM        ICILLIH                                                                2GM                   4424t6
                                                      C.9%                                                                                                                              lb

                                           FREA             Q6H                   INFUSE       N            100            Ik


      12-24   21
                    ___4

                                                                                                                                                                                                                           /
      12-14   24                                     rEPIME                                                                      1GM                   430
                                                CL    0.9r                                                                       OML                                   Of                6                            24
                                            REA             03H                   NFUS                      100    ML/HR

  12-21       23                           KEEP       REFRIGERAr
                                           PROTECT           FR           SET


  12-i        16                                i8ENTAMICIN                                                                440MG                       4360S5
                                           RACL       0.0r                                                                      00ML                                   U8               16

                                            REA
                                           FREG            08H                IfUSE            G     219.64        KL%NR
  12-23       15




  12-1b       12                                MAGNESIUM           SULF-TE             50%                                     65MEQ                  4353.8                   ORDER    STOPS    WIT   IH   48   HOUR
                                           HACK       0.9%                                                                 250ML
                                           FRED            024                INFUSE                      10.42    ML%HR

  12-19       ii                           TO       RUN    AS     CONTINUCIU             INFUSION           OVER    24HRS

                                                3    DAYS


  1_          08                           HACL       0.9                                                              1000ML                          431270
                                           FRED            08H                INFUSE         H              125    MLHR                                                08               16



  01-14       07




  12-16       9                            OMEPRAZOLE              ORAL       S    ISPEHSION                  VV PG 08                                 437471

                                                                                                                                                                       09p
                                           SHAKE          WELL


  O   1-1     10             Iý



  12-17       18                           PROMOTE          OBAG     LI0          TF    38                                                             4421    l
                                           FULL       STRENGTH

                                                     V
                                                                                                                                                                       1U               18                            02

                                           3-C                        TO          HAN
  u1- t       17




                                                                   o4p

TIALS                 N              PROFES          IONAL TITLE                                   IALS             NA ME              PROFES      TITLE                        NAME         PROFESSIONAL TITLE
                          AYE                                                            INI                                                                        INITIALS




                                                                                                                                                       U/           -71
                                                                                                                                                                                  _                          ýý11
                                  Case 4:14-cv-00403 Document 55-23 Filed on 04/11/14 in TXSD Page 150 of 150
                                                      -
  ERMANN                 HOSPITAL                                                                            MEDICATION               ADMINISTRATION            RECORD

  AM E                 WILFORD        KANE                                          71C        STIC-19                                      GENERATED       12-17-98         1135pr
  CCT                  919254909367                                                 Y          M                                            FOR   PERIOD    12-18-98         0700
                                                                                                                                                                                                         -


                  2ýr                                                                 T        180.34               cm                      THROUGH         12-19-98         0659
  I           \    bUKE        JAMES     H.    T                                UT        130.18                   kg                       ADMITTED        12-07-98        1222am
  St....CE              iRAUMH                                                  BSI2.46                      Fit


  ALLERGIES               UHKHOWN       PATIENT         ALLERGIES
                          NO   KNOWN     PATIENT            ALLERGIES
  DIAGNOSIS               WOUND       OPEN/UNSPEC            COMPL                                                                                         PAGE         2   OF       2




  START                  RECONCILE/
                                                                MEDICATION DOSE ROUTE                                                  FREQUENCY                                     0700-1500                    1501-200               2301-0
      STOP                 INITIALS




                                                                P    R     N         O    R    D        E     R     S




      12-14       15                          CHLORPROMAZINE                    25H6           INJ           IM     a6HFRl                                        429615
                                              AVOID ALCOHOL


      01-13       14


                               ýýy
      12-11       23                          HYDROCODOHE                N/nP             510/5U0MG                      /TAD   TAB   PO   03HPPN                 4222      9                           ORDER     STOPS    WITHIN   8   HOURS    A
                                                    -
                                              1         2   TABLETS            AS    NEEDED


      12-19       22




                                                                                                                                                                  4253      0
                                                                                                                                                                                          d
                                              IBUPROFEN              200MG           SUSP              NG     91DPRN

                                                                                                                                                                                                                                                 ý
          13      12

                                              Take          with     Foos
                                                                                                                                                                                                                                        ý3
                                                                                                                                                                                                    J
                                                                                                                                                                                 1

      O1-lt       11             ýjQ




      12-12       1C                          LORNZEFAM             2MG        IHJ       1V    Q2-4HPRr                                                           4228      6
                                              FOR       AGITATION
                                              AVOID ALCOHOL
      12-21       09                          MAY       GIVE    2-4MG




      12-i4       13                          HIORPHINE         2MG        1NJ       IV       O2-4HPRI%                                                           429029
                                              MAY       GIVE    2-10MG

                                                                                                                                                                                 1



      12-21       12                                                                                                                                                                                                   flký5ý



      12-14       14                          ONDANSETRON                8MG        INJ       IV        06HPRH                                                    4290      6
                                              MAY       REPEAT       9151iiN             IF    NO
                                              RESULTS          TO    A    MAX        OF       32ND
      01-13       i3




      12-         Ii                                                       i                           INJ         IV   d4-6NFRN                                  4230
                                              FRFiNASEAHA
                                              FOR NAUSEA AND                     MITI
                                                                               .1iIT1N                                                                                      6ýý

      O1-1I       10




      12-12       11                          TEMAZEFAM             15MG       CAr        PU           PRN                                                        A23065                                OR   ER   STOPS   WITHIN    8   HOURS
                                              15-30MG
                                              FOR       INSOMNIA

                  1c




ITI                       N    ME      PROFESSIONAL                 TITLE                          I         IAL6                NAME        PROFESS/       L   TITLE                    INITIALS            NAME         PROFESSIONAL       TITLE



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